                                                       Exhibit 1


Jake Doran

From:                            Justin Winch <justin.winch@winchlawfirm.com>
Sent:                            Saturday, December 30, 2023 12:00 AM
To:                              Jake Doran
Subject:                         Washington v. Safepoint - Updated Exactimate from GLS and Associates
Attachments:                     2022-05-15-09461-1_FINAL_DRAFT_DEPREC_CAR.pdf; washington finalized finaql.pdf


Jake,
Please see a ached, updated Exac mate, and supplemental informa on, provided by GLS to Mr. Washington.

Jus n

Sincerely,



Jus n L. Winch, Esq.
504.214.3400 Phone
504.389.4900 Fax
jus n.winch@winchlawﬁrm.com Email

Visit us at www.winchlawﬁrm.com

Winch Law Firm, llc | 324 18th St | New Orleans | Louisiana 70124




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                                          Exhibit 1




   ❖ GLS & ASSOCIATES, Inc. *** 16515 RR 12, suite 416,
     Wimberley, Texas 78676 * (972) 523 2886, GLS66912@AOL.COM



                                   December 28, 2023

Re: 1725 and 1725 A-C Nunez Street, New Orleans, LA
Subject: Review of carrier documentation, explanation of claims handling regulations
and observations of unlawful claims practices by carrier Safepoint, as requested by
property owner

Dear Mr. Washington and Mr. Winch,

           I was asked by you, relative to the property at 1725, 1725A-C Nunez St, owned
by you Mr. Glenn Washington, to respond to questions that remained unanswered by his
own insurer’s claims adjusters. This 912 square foot, 4-unit two story building was
constructed in 1920 prior to the adoption of the more stringent building code requirements
(UBC 2015) for new construction. The property is a wood frame (dimensional) with
concrete block exterior walls for the first-floor elevation. The wood frame (stick) has a
simple gable roof system with 300 grade architectural shingles. The large gable window
vents at the front and rear elevations were damaged and exposed the attic space to
damaging wind borne rain.
The code compliance will require many revisions:
1)        Hurricane tiedown straps. This is a complicated task with a no access space
on a 4/12 slope roof with 1x solid wood decking. The only logical access is through the
ceiling on the second floor and the siding on the exterior.
2)        New membrane wrap under the siding will require removal and resetting of the
siding then repainting. This action also requires the replacement of the window and door
seals that were access points for rain permeation.
3)        New insulation material based on the codes. This will require the removal and
replacement of the drywall materials, then they will have to be repainted.

It should be noted that Hurricane Ida impacted this dwelling on August 29-30, 2021, with
7 hours of hurricane Ida winds at storm force averaging 74 mph dumping over 12 inches
of class 3 rainfall which, was also pushed by 95 MPH gusts that permeated every micro-
opening of the structure. Lifted shingles allow access to the interior of the roof sheathing
then down rafters to the walls and second floor ceiling. Overhang vents, siding gaps and
window seals allowed water inside the structure -- evidence of these water intrusions
pathways are readily apparent and were communicated by policyholder Mr. Washington
to safepoint adjusting team the field adjuster as well as the desk adjuster during phone
conversations in an as is echoed in the defendant carriers claim file material including the
claims Journal.
After receiving no insurance benefits from his carrier for the extensive losses sustained,
Mr. Washington and his counsel engaged my services as they were necessary to
                                          Exhibit 1




establish the cause and extent of damage throughout his property, that resulted from rain,
moisture, wind driven rain, and wind impacts from Hurricane Ida. From the moment his
property experienced the first of the tropical storm forced winds and rains, until the storm
subsided, the entirety of the property at 1725 Nunez was battered and beaten with
excessive wind pressures, high velocity rains and excessive moisture and category 3
water. Throughout the entirety of the passage of the storm, the compromised building
envelope took on category 3 water and deteriorated from high wind pressures.
Document Review and Research
I requested to see all documents that Mr. Washington had received from his insurance
carrier, relative to their investigation and data gathered relative to the loss, and was
provided with documents identified by stamps labelled “DEF 001 – DEF 151”. In addition,
non-structural renovation plans, submitted by Mr. Washington to the City of New Orleans,
were obtained, including various photographs taken by permit inspectors throughout the
City Safety and Permits clearing of permits obtained for work performed at the property
throughout 2021 and 2022.
In addition, I obtained a “Benchmark report by Verisk” dated December 5, 2022. It should
be noted that this wind force is measured up to a 33-foot elevation. Any building element
above 33 feet will have a geometric increase in wind speeds and affective pressure.
On-site inspections and thorough analysis of cause of loss
My testing included moisture testing with the FLIR mr277 utilized an electromagnetic field
of 4 ½ inches analyzed by an algorithm that measured the moisture content in walls and
ceiling cavities.
Then starting on the second floor, excessive readings above the 12% accepted norm
showed the interior gypsum board and partitions were damaged by the rainwater, the
water then gravitated down to the first-floor ceiling, walls and floor. The o subfloor was
found to be wet and that has compromised the structural capacity of the material,
replacement for safety reasons is paramount. The photographic evidence of these
portions of my inspection are provided in the documents labeled
“SafepointWashBDFTH00001-01159”.
Mr. Washington reurged his observations and the facts as he came upon them, to the
field adjusters assigned by Safepoint, who had a duty to specify and define the cause of
said losses. Mr. Washington’s observations and information is further based on his
decade-long knowledge of the building and its characteristics by virtue of being a hands
on residential landlord and his experience gained in the same capacity. He observed and
reported that rain and wind driven rain and water and moisture penetrated his building
envelope from the roof, Eaves, window and door load pathways and that such losses
were the direct result of hurricane Ida’s wind and damaging weather conditions inundating
the property. Mr. Washington communicated to his adjusters, consistent with the
statements contained in the first notice of loss recap in the carrier’s claims journal, that
the property was inundated with wind driven rain, mold had begun to proliferate and a foul
mold stench was unmistakable, even as weeks had passed since the storm, and still his
carrier had assigned no adjuster to begin the loss adjustment process (at that point in
time).
As I explained to Mr. Washington, his property’s damages, outlined and set forth in
detailed line items in my Exactimate estimate, were the result of a clearly covered loss
occurrence – damage to and penetration of water into the building envelope due to
                                             Exhibit 1




Hurricane Ida’s winds and wind driven rain. All the losses are the exact typoe and severity
for which he paid insurance premiums to safepoint insurance compnay, in order to be
entitled to endimnity for the risk of their occurring. Mr. Washington indicated that he
tendered those insurance premiums as they became due, for several years faithfuly,
without a claim, and as I explained to him, it was his insurer’s duty, upon receipt and
retention of said premiums, to be obligated to him to tneder benefits payable under the
policy up to and including the limits of his dwelling coverage in excess of $270,000 plus
additional mold coverage in amounting to $10,000.

        Further, Mr. Washington’s premiums paid to his insurer, entitled him to receive
benefits in the event he lost fair rental value in order to effect repairs, in excess of $27,000.
Mr. Washington was concerned as to whether his insurer and its claims adjusters were
following the law as they were not providing very basic and direct information requested
by him, such as the facts and circumstances of and identity of the specific cause of his
losses for which benefits were NOT tendered by his carrier. The carrier refused to tender
benefits consistent with a vast majority of the line items set forth in my Exactimate
prepared for Mr. Washingotn, and a reasonable factual basis for the choice to deny Mr.
Washington the payment of benefits had to have existed – or, the carrier necessarily was
in violation of the law regulating claims adjusting and fair business practices.
Photos of the left elevation taken by adjuster John Donadio show exposed drip edge
above several windows which indicated shingle damage but were ignored. There were
no photographs of the right elevation.
Follow up roof testing was undertaken to compare the original inspection results by the
ladder assist team. All shingles were tested. The recent reinspection documented
shingle lifts and damage in numerous areas correlated to the water-stained sheathing
under the same areas in the attic.

                Follow up photo file is attached herewith for review.

        Adjusters are legally-obligated, pursuant to La. R.S. 22:1674.1 to conform our
conduct strictly to the claims adjuster standard of conduct found at Louisiana revised
statute 2216 24.1 and that such standards were binding upon all actions relative to claims
handling and adjusting in violation of subsection 789 Mr. Washington informs me and
asked my opinion as an adjuster sworn to conform to these standards whereby adjusters
are required to adjust strictly in accordance with, insurance contract not approach
settlement in a manner prejudicial and and make unbiased reports. Mr. Washington states
that it was clear to his insurer and an even necessary to begin removal of storm water
damaged ceiling tile and gypsum board prior to their on-site inspection. This storm
damaged material was retained on site in dumpsters preserved for observation inspection
and sampling if necessary by the carrier and its adjusting team and yet these investigative
measures were not undertaken. Despite doing no investigation, the carrier reached a
conclusion categorically denying (without specifying the basis in fact for the denial) that
covered losses were sustained. This was again despite visible and tangible physical
evidence within reach which could have been sampled set sent offer testing etc. When
the carrier chose not to do any such testing, this choice is by definition arbitrary and
capricious and without cause, and unlawful. Despite these failures in conducting a
                                          Exhibit 1




reasonable thorough investigation, denying the claims is a prejudicial claims handling and
evaluation approach, in direct violation of subset nine through 11 of Louisiana revised
statute 22:1674.1
Recoverable depreciation never tendered
Furthermore Mr. Washington indicates to me that he has affected the repairs for which
remediation are due and owing recoverable depreciation despite having disclosed in
excess of $100,000 in repair costs and material expended safepoint has today failed to
tender Mr. Washington the benefits for this absolutely undeniable and at an agreed-upon
amount due under the policy recoverable to appreciation provisions further to any analysis
further to my analysis of safepoint's handling Mr. Washington's claim site gypsum
Association of America 231 – 2019 site page 51 and subsequent passages in ANSI
standard S5 20 standard and and specifically the standard for discouraging indiscriminate
coding of mold contaminated surfaces in of complete replacement of these damaged and
contaminated portions of the building envelope

       All the adjusters recorded and agreed that Mr.: Washington’s property had mold
growing on it and continuing to proliferate. However, industry standards require
remediation and steps taken that the insurers simply refused to take they refused and in
fact zero dollars were paid to Mr. Washington pursuant to the ADDITIONAL COVERAGE
that Mr. Washington PAID FOR. See DEF 007, where the insurers policy declaration, on
“page 2 of 4” of their own document, the insurer shows that Mr. Washington bought and
paid a premium to the insurance company — a check they most certainly cashed — for
“Fungi … Bacteria [MOLD] Coverage - Louisiana.” (Footnote, see DEF 007.) The DEF
exhibit 77 dated 10/19/2022 @12:23 pm indicated a RCV of $29,482.03 and at 12:29 PM
was revised downward by removing 42 items netting a new RCV of $16,826.96 but no
exhibit was provided for review.

       According to DEF exhibit 146 dated 10/26/21. Adjuster James Moran agreed with
field adjuster John Donadio to allow for one month’s rental loss coverage. DEF exhibit
148 left the rental amount blank. That inaction is a deliberate denial of pre-approved
coverage for income loss. For the record, my opinion is that 30 days repair is
impossible. It is my opinion and knowledge of the shortage of materials and labor in this
state of Louisiana that 90 days is realistic.

       The policy (SLAD1231984-03) defines loss rental coverage as maxed at 10% of
coverage A, Coverage A is $293,000.00 so rental loss has a capacity of $29,300.00. So,
4 units rental for 3 months would be the basis of loss income.
                                         Exhibit 1




                                     CONCLUSION

       In summary, the repair of Hurricane damage to these 4 plex has been completed
and the receipts submitted. To date the depreciation holdback has not been paid per
policy guidelines. This action violates the policy guidelines. In addition, the September
2021 price schedule was never updated to the time when materials were delivered on site
for repairs to begin. Industry protocol was not followed.

Respectfully submitted,



Gary L Sanders, President
National General adjuster




Follow-up photo files:

   Left elevation drip edge damage
                      Exhibit 1




Attic and ridgeline
Exhibit 1
Exhibit 1
Exhibit 1
                Exhibit 1




Roof pictures
1

                                                          Exhibit 1




           Insured:    WASHINGTON-1725
          Property:    1725 Nunez Street
                       New Orleans, LA 70114


       Claim Rep.:     Gary Sanders                                              Business:    (972) 523-2886
          Position:    President.
         Business:     16515 RR 12, suite 416
                       WIMBERLEY, TX 78676


         Estimator:    Gary Sanders                                              Business:    (972) 523-2886
          Position:    President.
          Business:    16515 RR 12, suite 416
                       WIMBERLEY, TX 78676


        Reference:     Justin Winch                                              Business:    (504) 214-3400
         Position:     Principal                                                  E-mail:     justin.winch@winchlawfirm.
        Company:       WINCH LAW FIRM                                                         com
         Business:     1100 VETERANS MEMORIAL BLVD. SUITE 216
                       METAIRIE, LA 70005


    Claim Number:                            Policy Number:                          Type of Loss:

    Date Contacted:    4/30/2022 4:00 PM
      Date of Loss:    8/29/2021 10:02 AM                Date Received:   4/29/2022 3:00 PM
    Date Inspected:    5/1/2022 12:45 PM                  Date Entered:   5/9/2022 8:46 AM

         Price List:   LANO8X_APR22
                       Restoration/Service/Remodel
          Estimate:    2022-05-15-09461-1
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                                                                     Exhibit 1




     Hurricane Ida struck southeast Louisiana as a powerful Category 4 storm on Sunday, Aug. 29, 2021 - the 16th anniversary of
     Hurricane Katrina’s landfall in 2005. Ida brought destructive storm surge, high winds, and heavy rainfall to the region and left
     over 1 million customers without power, including the entire city of New Orleans.

      The recorded wind gusts of up to 220 mph rapidly damaged everything in its path and created
     tornadoes. The movement of the eye generated wind trajectory at 360 degrees over the same spot. This
     action of high winds destroyed roofs, buildings, fences, windows, and doors. Public utilities, power lines
     and traffic signals were also destroyed
      AT THE SAME TIME , over 24inches of rain fell through every opening and was pushed through cracks from high winds.

     Hurricane Nicholas arrived as a Category 1 on September 14th and its path took it over the area dropping an additional 12
     Inches through damaged roofs permeating the inside of dwellings and businesses at wind speeds up to 75 MPH .


         NOTE: THIS CATAGORY OF WATER REQUIRES REMOVAL AND REPLACEMENT OF MATERIALS.


             PROCEEDURAL GUIDELINES FOLLOWED THE FIFTH EDITION OF THE NSI/IIRC STANDARDS FOR
     WATER DAMAGE RESTORATION.
             " Article 10.6.8, performing the initial Moisture Inspection, page 35:

                 "1 10.6.8 Performing the Initial Moisture Inspection

     32
     33 An initial moisture inspection should be conducted to identify the full extent of water intrusion, including the
     34 identification of affected assemblies, building materials, and the edge of water migration. Normally, this
     35 process begins at the source of water intrusion. Water migration can then be traced across and beneath
     36 carpeted surfaces with a moisture sensor. Hard surfaces such as wood flooring, gypsum wallboard,
     37 resilient flooring and plaster should be inspected. This can initially be accomplished using a non-invasive
                   38 (i.e., non-penetrating, non-destructive) moisture meter. Thermal imaging cameras can be used to help
                   39 identify areas of potential migration followed by appropriate moisture detection instruments, especially on
                   40 projects with complex or multiple areas of water intrusion.
     41
     6 Complications, Complexities and Conflicts) can hinder the identification of materials and assemblies.
     47 Identification of building materials within an assembly can be accomplished through several methods (e.g.,
     48 building drawings, existing access openings, inspection holes, partial disassembly, invasive moisture
     49 meters). The extent of moisture migration should be documented using one or more appropriate methods
     50 including at a minimum a moisture map (i.e., a diagram of the structure indicating the areas affected by
     51 migrating water).
     52
     53 The initial inspection process should include establishing a dry standard for affected materials. An
     54 acceptable method to establish a dry standard is to evaluate the moisture level or moisture content of similar
     55 materials in unaffected areas. The dry standard should be documented and used to establish a drying goal "
           Historic conditions of 10-12 % are found in thew state of Lousiana
      .




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                                                                                        Exhibit 1




                                                                                  2022-05-15-09461-1
         2022-05-15-09461-1

         DESCRIPTION                                             QUANTITY UNIT PRICE                 TAX         O&P         RCV     DEPREC.               ACV
         1. Rewire - average residence - copper                         0.00 SF         5.68          0.00        0.00        0.00       (0.00)             0.00
         wiring with conduit

         Total: 2022-05-15-09461-1                                                                    0.00        0.00        0.00           0.00           0.00
                                                                                      Main Level
         Main Level

         DESCRIPTION                                             QUANTITY UNIT PRICE                 TAX         O&P         RCV     DEPREC.               ACV
         2. Rewire - average residence - copper     1,547.10 SF                         5.68        137.43    3,123.74   12,048.70       (0.00)        12,048.70
         wiring with conduit
         3. R&R Ductwork system - hot or cold air -     1.00 EA                     6,202.36        185.83    2,235.87    8,624.06       (0.00)         8,624.06
         1200 to 1599 SF home
         4. Clean the walls and ceiling - Heavy     6,696.53 SF                         0.63          6.33    1,478.80    5,703.94       (0.00)         5,703.94
         5. R&R Pressurized water tank - 80-90          3.00 EA                     1,354.41        152.15    1,475.38    5,690.76       (0.00)         5,690.76
         gallons per receipts*
         6. WATER EXTRACTION &                          2.00 EA                     3,954.63          0.00    2,768.24   10,677.50       (0.00)        10,677.50
         REMEDIATION air handlers *
         7. Seal & paint siding*                    1,184.00 SF                        2.64          50.35    1,111.63    4,287.74       (0.00)         4,287.74
         8. R&R Aluminum window, single hung            2.00 EA                      504.98          72.85      378.99    1,461.80       (0.00)         1,461.80
         13-19 sf (2 pane w/thermal)
         9. Add. charge for a retrofit window, 3-11     2.00 EA                      380.00           2.62     266.91     1,029.53       (0.00)         1,029.53
         sf - difficult
         10. R&R French double doors - Exterior -       2.00 EA                     1,660.75        269.87    1,256.98    4,848.35       (0.00)         4,848.35
         pre-hung unit

         Total: Main Level                                                                          877.43   14,096.54   54,372.38           0.00      54,372.38
                                    UNIT C Bedroom 3




                                                       UNIT C Bedroom 3 Closet                                                                      Height: 7' 9"
                                                                          107.21 SF Walls                                  9.04 SF Ceiling
                    6"      4' 4"        6"                               116.25 SF Walls & Ceiling                        9.04 SF Floor
            2' 1"




                                              1' 9"




                                         4" UNIT C Bedroom 2 Closet
                    UNIT C Bedroom 3 Closet
                                                                            1.00 SY Flooring                              13.83 LF Floor Perimeter
                            5' 2"                                          13.83 LF Ceil. Perimeter
                            5' 4"


         DESCRIPTION                                             QUANTITY UNIT PRICE                 TAX         O&P         RCV     DEPREC.               ACV
          11. 5/8" drywall - hung, taped, heavy                       116.25 SF         3.46          9.67     144.16      556.06        (0.00)           556.06
          texture, ready for paint
                               UNIT C Bedroom 2
          12. R&R Light fixture                                         1.00 EA       81.74           3.12      29.70      114.56        (0.00)           114.56
          13. R&R Batt insulation - 4" - R11 - paper                  116.25 SF        1.26           6.48      53.54      206.50        (0.00)           206.50
    UNIT C/ Hallway
            foil faced
          14. R&R Baseboard - 3 1/4"                                   13.83 LF         4.26          1.99      21.32       82.23        (0.00)            82.23
          15. Seal stud wall for odor control (anti-                  116.25 SF         2.71         16.81     116.15      448.00        (0.00)           448.00
          microbial coating)

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                                    UNIT C Bedroom 1
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                                                                                                 Exhibit 1




                                                                                CONTINUED - UNIT C Bedroom 3 Closet



              DESCRIPTION                                                    QUANTITY UNIT PRICE              TAX        O&P         RCV     DEPREC.               ACV
              16. R&R Snaplock Laminate - simulated                              9.04 SF        7.64           2.73     25.13       96.92        (0.00)            96.92
              wood flooring
              17. Seal/prime then paint the walls and                          116.25 SF        1.42           2.09     58.51      225.68        (0.00)           225.68
              ceiling (2 coats)
              18. Detach & Reset Interior door unit                              1.00 EA       88.01           0.09     30.83      118.93        (0.00)           118.93
              19. R&R Door dummy knob - interior -                               1.00 EA       30.74           0.62     10.98       42.34        (0.00)            42.34
              Standard grade
              20. R&R Shelving - 12" - in place                                 13.83 LF       11.47           5.54     57.46      221.64        (0.00)           221.64
              21. R&R Stud wall - 2" x 4" x 8' - 24" oc                          9.00 LF       27.45          11.61     90.52      349.18        (0.00)           349.18

              Totals: UNIT C Bedroom 3 Closet                                                                 60.75    638.30     2,462.04           0.00       2,462.04

                                  UNIT C Bedroom 3
NIT C Living Room



                                                                       UNIT C Bedroom 2                                                                     Height: 7' 9"
                      UNIT C Bedroom
                                  UNIT
                              5' 2"  3 4"
                                       Closet
                                       C Bedroom 2 Closet
                                           4' 4" 6"
                                      5' 4"     6"                                 315.17 SF Walls                               103.11 SF Ceiling
                                                                                   418.28 SF Walls & Ceiling                     103.11 SF Floor
                                                               7' 3"
                                                       7' 1"




                                  UNIT C Bedroom 2                                  11.46 SY Flooring                             40.67 LF Floor Perimeter
                                                                                    40.67 LF Ceil. Perimeter
                                                               1' 8"




             UNIT C Hallway
 UNIT C Kitchen
                              2' 4"




                                                       11"




                                              10' 8"
                         4"




              DESCRIPTION                                                    QUANTITY UNIT PRICE              TAX       O&P          RCV     DEPREC.               ACV
                                  UNIT C Bedroom 1
             22. 5/8" drywall - hung, taped, heavy                             418.28 SF        3.46          34.78    518.72     2,000.75       (0.00)         2,000.75
             texture, ready for paint
IT C Kitchen Closet
             23. R&R Light fixture                                               1.00 EA       81.74           3.12     29.70      114.56        (0.00)           114.56
                UNIT CFT
                      Hallway
                          Unit UNIT
                               Linens
                                ClosetCCloset
                                        Bedroom 1 Closet
             24. R&R Batt insulation - 4" - R11 - paper                        418.28 SF        1.26          23.32    192.63      742.98        (0.00)           742.98
             / foil faced
  UNIT C Bathroom
             25. R&R Baseboard              - 3 1/4"
                               FT Unit Bathroom                                 40.67 LF        4.26           5.84     62.69       241.78       (0.00)           241.78
             26. Seal stud wall for odor control (anti-                        418.28 SF        2.71          60.48    417.91     1,611.93       (0.00)         1,611.93
               Room1
             microbial coating)
             27. R&R Snaplock             Laminate
                            FT Unit Kitchen   Closet   - simulated             103.11 SF        7.64          31.18    286.64     1,105.58       (0.00)         1,105.58
             wood flooring
             28. 1FT
  FT Unit Bedroom Seal/prime
                     Unit Hallway then paint the walls and                     418.28 SF        1.42           7.51    210.51      811.98        (0.00)           811.98
             ceiling (2 coats)
             29. Detach & Reset Interior door unit                               1.00 EA       88.01           0.09     30.83      118.93        (0.00)           118.93
             30. R&R Door          dummy
                                FT Unit  Kitchenknob - interior -                1.00 EA       30.74           0.62     10.98       42.34        (0.00)            42.34
             Standard grade
             31. R&R Stud wall - 2" x 4" x 8' - 16" oc                          30.00 LF       31.60          44.42    347.34     1,339.76       (0.00)         1,339.76
  FT Unit Bedroom 2

              Totals: UNIT C Bedroom 2                                                                       211.36   2,107.95    8,130.59           0.00       8,130.59

 BedroomFT
         2 Closet
            Unit Bedroom 3


                                 FT Unit Living Room


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 FT Unit Bedroom 3                                                                                                                      12/29/2023                  Page: 4
5                                 UNIT C Bedroom 3
NIT C Living Room


                                                                                                                          Exhibit 1
                    UNIT C Bedroom
                               UNIT3 C
                                     Closet
                                       Bedroom 2 Closet




                                  UNIT C Bedroom 2

            UNIT C Hallway
 UNIT C Kitchen
                                               10' 8"
                                                                                             UNIT C Bedroom 1                                                                        Height: 7' 9"
                       4"
                               2' 4"




                                                                     4' 2"
                                                             4'                                            316.46 SF Walls                                104.00 SF Ceiling
                                                                     3' 10" 2' 1"
                                                                                            UNIT C Bedroom 2
                                  UNIT C Bedroom 1
                                                                                                           420.46 SF Walls & Ceiling                      104.00 SF Floor
                               7' 3"
                       7' 5"




                                                                                                            11.56 SY Flooring                              40.83 LF Floor Perimeter
                                                             3' 8"




IT C Kitchen Closet                    5' 5"      9"    4'
                                                                                                            40.83 LF Ceil. Perimeter
                UNIT CFT2' Unit
                           3" UNIT
                       Hallway  2'Closet
                                   8" C
                                Linens7"Closet
                                         Bedroom 1 Closet

 UNIT C Hallway
   UNIT C Bathroom                       FT Unit Bathroom
              DESCRIPTION                                                                           QUANTITY UNIT PRICE                TAX       O&P          RCV     DEPREC.               ACV
                Room1
              32. 5/8" drywall - hung, taped, heavy                 420.46 SF                                             3.46         34.97    521.42     2,011.18       (0.00)         2,011.18
              texture, ready      forKitchen
                            FT Unit    paintCloset
              33. R&R Light fixture                                   1.00 EA                                            81.74          3.12     29.70      114.56        (0.00)           114.56
  FT Unit Bedroom FT
              34. 1R&RUnit Hallway
                            Batt insulation - 4" - R11 - paper      420.46 SF                                             1.26         23.44    193.63      746.85        (0.00)           746.85
              / foil faced
              35. R&R Baseboard - 3 1/4"                             40.83 LF                                             4.26          5.86     62.94       242.74       (0.00)           242.74
                                FT Unit Kitchen
              36. Seal stud wall for odor control (anti-            420.46 SF                                             2.71         60.79    420.09     1,620.33       (0.00)         1,620.33
              microbial coating)
              37. 2R&R Snaplock Laminate - simulated
  FT Unit Bedroom                                                   104.00 SF                                             7.64         31.45    289.10     1,115.11       (0.00)         1,115.11
              wood flooring
              38. Seal/prime then paint the walls and               420.46 SF                                             1.42          7.55    211.61      816.21        (0.00)           816.21
              ceiling (2 coats)
 BedroomFT2 Closet
            Unit Bedroom 3
              39. Detach & Reset Interior door unit                   1.00 EA                                            88.01          0.09     30.83      118.93        (0.00)           118.93
                                                         UNIT C Bedroom 1
              40. R&RFTDoor         dummy
                              Unit Living Room knob - interior -      1.00 EA                                            30.74          0.62     10.98       42.34        (0.00)            42.34
              Standard grade
 FT Unit Bedroom 3
              41. R&R Stud wall - 2" x 4" x 8' - 16" oc              30.00 LF                                            31.60         44.42    347.34     1,339.76       (0.00)         1,339.76

              Totals: UNIT C Bedroom 1                                                                                                212.31   2,117.64    8,168.01           0.00       8,168.01




                                               2' 5"                                         UNIT C Hallway Closet                                                                   Height: 7' 9"
                      5"




                                                                62.00 SF Walls                                                                              3.94 SF Ceiling
                                                                                    1' 9"




                                               2' 3"
                                      FT Unit Linens Closet UNIT65.94
                      UNIT C Hallway Closet                           SF Walls
                                                                 C Bedroom      & Ceiling
                                                                           1 Closet                                                                         3.94 SF Floor
                                                                 0.44 SY Flooring                                                                           8.00 LF Floor Perimeter
                                          3"




                                                                 8.00 LF Ceil. Perimeter
                                           2' 1"
              DESCRIPTION                                                                           QUANTITY UNIT PRICE                TAX       O&P          RCV     DEPREC.               ACV
        42. 5/8" drywall - hung, taped, heavy           65.94 SF                                                          3.46          5.48     81.77      315.40        (0.00)           315.40
        texture, ready for paint
        43. R&R Light fixture                      FT Unit1.00 EA
                                                           Bathroom                                                      81.74          3.12     29.70      114.56        (0.00)           114.56
        44. R&R Batt insulation - 4" - R11 - paper      65.94 SF                                                          1.26          3.68     30.38      117.14        (0.00)           117.14
        / foil faced
        45. R&R Baseboard - 3 1/4"                        8.00 LF                                                         4.26          1.15     12.33       47.56        (0.00)            47.56
        46. Seal stud wall for odor control (anti-      65.94 SF                                                          2.71          9.53     65.89      254.12        (0.00)           254.12
        microbial coating)
        47. R&R Snaplock Laminate - simulated             3.94 SF                                                         7.64          1.19     10.95       42.24        (0.00)            42.24
  Room1 wood flooring
        48. Seal/prime then paint the walls and         65.94 SF                                                          1.42          1.18     33.19      128.00        (0.00)           128.00
        ceiling (2 coats)
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                                                                                                FT Unit Kitchen Closet
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Bedroom 3 Closet UNIT C Bedroom 2 Closet
                                                                                Exhibit 1




       UNIT C Bedroom 2
                                                                CONTINUED - UNIT C Hallway Closet



           DESCRIPTION                                     QUANTITY UNIT PRICE              TAX      O&P        RCV     DEPREC.               ACV
           49. Detach & Reset Interior door unit               1.00 EA         88.01         0.09    30.83    118.93        (0.00)           118.93
           50. R&R Door dummy knob - interior -                1.00 EA         30.74         0.62    10.98     42.34        (0.00)            42.34
           Standard grade
           51. R&R Shelving - 12" - in place                   8.00 LF         11.47         3.21    33.23    128.20        (0.00)           128.20

           Totals: UNIT C Hallway Closet                                                    29.25   339.25   1,308.49           0.00       1,308.49
       UNIT C Bedroom 1




                                                     UNIT C Bedroom 1 Closet                                                           Height: 7' 9"
                                                                 105.92 SF Walls                              8.90 SF Ceiling
                 9"         4'       6"                          114.81 SF Walls & Ceiling                    8.90 SF Floor
                                                                   0.99 SY Flooring                          13.67 LF Floor Perimeter
                                     1' 9"

                                             2' 1"




ay
FTCloset          7" C Bedroom 1 Closet
   Unit Linens Closet
                  UNIT
                          5' 1"                                   13.67 LF Ceil. Perimeter



           DESCRIPTION                                     QUANTITY UNIT PRICE              TAX      O&P        RCV     DEPREC.               ACV
           52. 5/8"Bathroom
            FT Unit drywall - hung, taped, heavy             114.81 SF          3.46         9.55   142.38    549.17        (0.00)           549.17
           texture, ready for paint
           53. R&R Light fixture                               1.00 EA         81.74         3.12    29.70    114.56        (0.00)           114.56
           54. R&R Batt insulation - 4" - R11 - paper        114.81 SF          1.26         6.40    52.87    203.93        (0.00)           203.93
           / foil faced
           55. R&R Baseboard - 3 1/4"                         13.67 LF          4.26         1.96    21.06     81.25        (0.00)            81.25
           56. Seal stud wall for odor control (anti-        114.81 SF          2.71        16.60   114.71    442.45        (0.00)           442.45
           microbial
           FT          coating)
              Unit Kitchen Closet
           57. R&R Snaplock Laminate - simulated               8.90 SF          7.64         2.69    24.74     95.43        (0.00)            95.43
           wood flooring
           58. Seal/prime then paint the walls and           114.81 SF          1.42         2.06    57.78    222.87        (0.00)           222.87
           ceiling (2 coats)
lway
           59. Detach & Reset Interior door unit               1.00 EA         88.01         0.09    30.83    118.93        (0.00)           118.93
           60. R&R Door dummy knob - interior -                1.00 EA         30.74         0.62    10.98     42.34        (0.00)            42.34
           Standard grade
           61. R&R Shelving - 12" - in place                  13.67 LF         11.47         5.48    56.80    219.08        (0.00)           219.08

           Totals: UNIT C Bedroom 1 Closet                                                  48.57   541.85   2,090.01           0.00       2,090.01

              FT Unit Kitchen




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                                                                                                                           Exhibit 1




                                2' 11" C Bedroom 3
                               UNIT                                                             UNIT C Hallway                                                                        Height: 6' 9"
                     UNIT C Living  Room
                                                7' 3" 2" 7' 2" 2' 4"
                                                               7' 1"
                                                7' 5" 4" 7' 4" 4"



                            UNITUNIT
                                 C Bedroom
                                     C Bedroom
                                           3 Closet
                                                2 Closet
                                                                                                            258.19 SF Walls                                 83.24 SF Ceiling
                              UNIT C Bedroom 2
                                                      15' 3"




                       UNITUNIT C Hallway
                            C Kitchen                                                                       341.43 SF Walls & Ceiling                       83.24 SF Floor
                              UNIT C Bedroom 1
                                                                                                              9.25 SY Flooring                              38.25 LF Floor Perimeter
                                             6' 3"




                   UNIT C Kitchen Closet
                        UNIT
                           FTUNIT
                               CUnit
                                 Hallway
                                     CLinens
                                       Bedroom
                                           Closet
                                             Closet
                                                 1 Closet
                                                                                                             38.25 LF Ceil. Perimeter
                       UNIT C Bathroom
                                 FT Unit Bathroom
                               Room1
                               FT Unit Kitchen Closet
             Missing Wall
                       FT UnitFT
                               Bedroom  1
                                 Unit Hallway                                                                  2' 11" X 6' 9"                   Opens into UNIT_C_LIVIN
             Missing WallFT Unit Kitchen                                                                       7' 1" X 6' 9"                    Opens into UNIT_C_LIVIN
                       FT Unit Bedroom 2
             Missing Wall                                                                                      15' 3" X 6' 9"                   Opens into UNIT_C_KITCH
               FT Unit FT
                       Bedroom
                          Unit Bedroom
                                2 Closet 3
                            FT Unit Living Room
                   FT Unit Bedroom 3
             DESCRIPTION                                                                              QUANTITY UNIT PRICE               TAX       O&P          RCV     DEPREC.               ACV
             62. 5/8" drywall - hung, taped, heavy                                                      341.43 SF          3.46         28.39    423.41     1,633.15       (0.00)         1,633.15
             texture, ready for paint
             63. R&R Light fixture                                                                        1.00 EA         81.74          3.12     29.70      114.56        (0.00)           114.56
             64. R&R Batt insulation - 4" - R11 - paper                                                 341.43 SF          1.26         19.04    157.24      606.48        (0.00)           606.48
             / foil faced
             65. R&R Baseboard - 3 1/4"                                                                  38.25 LF          4.26          5.49     58.95       227.39       (0.00)           227.39
             66. Seal stud wall for odor control (anti-                                                 341.43 SF          2.71         49.37    341.13     1,315.78       (0.00)         1,315.78
             microbial coating)
             67. R&R Snaplock Laminate - simulated                                                       83.24 SF          7.64         25.17    231.39      892.51        (0.00)           892.51
             wood flooring
             68. Seal/prime then paint the walls and                                                    341.43 SF          1.42          6.13    171.84      662.80        (0.00)           662.80
             ceiling (2 coats)
             69. Detach & Reset Interior door unit                                                        1.00 EA         88.01          0.09     30.83      118.93        (0.00)           118.93
             70. R&R Door dummy knob - interior -                                                         1.00 EA         30.74          0.62     10.98       42.34        (0.00)            42.34
             Standard grade

             Totals: UNIT C Hallway                                                                                                    137.42   1,455.47    5,613.94           0.00       5,613.94




                                                   11' 2"
                                                                                                UNIT C Bedroom 3                                                                      Height: 7' 9"
                                                                                       2' 10"
                                                                               2' 6"




                                                  10' 8"
                            5' 9"




                                                                                                            326.79 SF Walls                                111.11 SF Ceiling
                                UNIT C Bedroom 3
                                                                                                            437.90 SF Walls & Ceiling                      111.11 SF Floor
                            2' 4" 2' 2"




UNIT C Living Room
                                                                               6' 3"
                                                                                       6' 5"




                                                                                                             12.35 SY Flooring                              42.17 LF Floor Perimeter
                                          4' 4" 6"                     5' 4"
                                                                                                             42.17 LF Ceil. Perimeter
                       4"




                            UNIT4"
                  UNIT C Bedroom      5' 2" 2 Closet
                                 3CCloset
                                    Bedroom




             DESCRIPTION
                    UNIT C Bedroom 2                                                                  QUANTITY UNIT PRICE               TAX       O&P          RCV     DEPREC.               ACV
               UNIT C Hallway
    UNIT C Kitchen
              71.  5/8" drywall - hung, taped, heavy                                                    437.90 SF          3.46         36.42    543.04     2,094.59       (0.00)         2,094.59
             texture, ready for paint
             72. R&R Light fixture                                                                        1.00 EA         81.74          3.12     29.70      114.56        (0.00)           114.56
             73. R&R Batt        insulation - 4" - R11 - paper
                          UNIT C Bedroom 1
                                                                                                        437.90 SF          1.26         24.42    201.66      777.84        (0.00)           777.84
             / foil faced
             74. R&R Baseboard - 3 1/4"
UNIT C Kitchen Closet
                                                                                                         42.17 LF          4.26          6.06     65.00       250.70       (0.00)           250.70
             75.UNIT
                   Seal
                      CFTstud
                        Hallway wall
                          UnitUNIT
                               Linens
                                Closet for odor
                                    C Closet
                                      Bedroom    control (anti-
                                              1 Closet                                                  437.90 SF          2.71         63.31    437.51     1,687.53       (0.00)         1,687.53
             microbial coating)

     UNIT C Bathroom                       FT Unit Bathroom
          2022-05-15-09461-1                                                                                                                                      12/29/2023                  Page: 7
                 Room1

                                      FT Unit Kitchen Closet


     FT Unit BedroomFT
                     1 Unit Hallway
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                                                                                     Exhibit 1




                                                                       CONTINUED - UNIT C Bedroom 3



              DESCRIPTION                                       QUANTITY UNIT PRICE               TAX        O&P        RCV     DEPREC.               ACV
              76. R&R Snaplock Laminate - simulated               111.11 SF          7.64         33.60    308.87    1,191.35       (0.00)         1,191.35
              wood flooring
              77. Seal/prime then paint the walls and             437.90 SF          1.42          7.86    220.38     850.06        (0.00)           850.06
              ceiling (2 coats)
              78. Detach & Reset Interior door unit                 1.00 EA         88.01          0.09     30.83     118.93        (0.00)           118.93
              79. R&R Door dummy knob - interior -                  1.00 EA         30.74          0.62     10.98      42.34        (0.00)            42.34
              Standard grade
            UNIT C Bedroom 3
              Totals: UNIT C Bedroom 3                                                           175.50   1,847.97   7,127.90           0.00       7,127.90




                                    5' 4"                 UNIT C Bedroom 2 Closet                                                              Height: 7' 9"
                            1' 9"




                                                  2' 1"




T C Bedroom 3 Closet
                                    5' 2"
                        UNIT C Bedroom 2 Closet                       107.21 SF Walls                                 9.04 SF Ceiling
                                    4' 4"    6"                       116.25 SF Walls & Ceiling                       9.04 SF Floor
                       6"                                               1.00 SY Flooring                             13.83 LF Floor Perimeter
                                                                       13.83 LF Ceil. Perimeter



             DESCRIPTION
            UNIT C Bedroom 2                                    QUANTITY UNIT PRICE               TAX       O&P         RCV     DEPREC.               ACV
             80. 5/8" drywall - hung, taped, heavy                116.25 SF          3.46          9.67    144.16     556.06        (0.00)           556.06
             texture, ready for paint
             81. R&R Light fixture                                  1.00 EA         81.74          3.12     29.70     114.56        (0.00)           114.56
             82. R&R Batt insulation - 4" - R11 - paper           116.25 SF          1.26          6.48     53.54     206.50        (0.00)           206.50
             / foil faced
             83. R&R Baseboard - 3 1/4"                            13.83 LF          4.26          1.99     21.32      82.23        (0.00)            82.23
             84. Seal stud wall for odor control (anti-           116.25 SF          2.71         16.81    116.15     448.00        (0.00)           448.00
             microbial coating)
             85. R&R Snaplock Laminate - simulated                  9.04 SF          7.64          2.73     25.13      96.92        (0.00)            96.92
             wood flooring
             86. Seal/prime then paint the walls and              116.25 SF          1.42          2.09     58.51     225.68        (0.00)           225.68
            UNIT C Bedroom 1
             ceiling (2 coats)
             87. Detach & Reset Interior door unit                  1.00 EA         88.01          0.09     30.83     118.93        (0.00)           118.93
             88. R&R Door dummy knob - interior -                   1.00 EA         30.74          0.62     10.98      42.34        (0.00)            42.34
             Standard grade
             89. R&R Shelving - 12" - in place                     13.83 LF         11.47          5.54     57.46     221.64        (0.00)           221.64

              Totals: UNIT C Bedroom 2 Closet                                                     49.14    547.78    2,112.86           0.00       2,112.86
llwayFT
      Closet
        Unit Linens Closet
                        UNIT C Bedroom 1 Closet




                   FT Unit Bathroom


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                 FT Unit Kitchen Closet
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                                                                                                                 Exhibit 1




                       4' 4"                2' 4"      4' 6"                    UNIT C Living Room                                                                          Height: 7' 9"
                            4'                         4' 4"
                                                                                                  236.69 SF Walls                                116.23 SF Ceiling
                                                                   5' 9"
                              2' 11"                                                              352.92 SF Walls & Ceiling                      116.23 SF Floor
                      12' 10"




                                                                    UNIT C Bedroom 3
             13' 2"




             UNIT C Living Room
                                                                                                   12.91 SY Flooring                              29.25 LF Floor Perimeter
                                                     7' 1"




                                                                                                   39.25 LF Ceil. Perimeter
                                                         UNIT C Bedroom
                                                                   UNIT 3CCloset
                                                                           Bedroom 2 Closet
                                         7' 9"


     Missing Wall                                                                                    7' 9" X 7' 9"                    Opens into UNIT_C_KITCH
                                                                    UNIT C Bedroom 2
     Missing Wall                                                                                    7' 1" X 7' 9"                    Opens into UNIT_C_HALL1
                                UNIT C Hallway
                      UNIT C Kitchen
     Missing Wall                                                                                    2' 11" X 7' 9"                   Opens into UNIT_C_HALL1

     DESCRIPTION                                                                         QUANTITY UNIT PRICE                  TAX       O&P          RCV     DEPREC.               ACV
                                                                    UNIT C Bedroom 1
     90. 5/8" drywall - hung, taped, heavy                            352.92 SF                                  3.46         29.35    437.66     1,688.11       (0.00)         1,688.11
     texture, ready for paint
             UNIT C Kitchen Closet
     91. R&R Light fixture                                              1.00 EA                                 81.74          3.12     29.70      114.56        (0.00)           114.56
                             UNIT CFT Hallway
                                        UnitUNIT
                                              Linens
                                                Closet
                                                   C Closet
                                                     Bedroom 1 Closet
     92. R&R Batt insulation - 4" - R11 - paper                       352.92 SF                                  1.26         19.68    162.53      626.88        (0.00)           626.88
     / foil faced
     93. R&R UNIT       C Bathroom
                 Baseboard       - 3 1/4" FT Unit Bathroom             29.25 LF                                  4.26          4.20     45.08       173.89       (0.00)           173.89
     94. Seal stud wall for   Room1odor    control     (anti-         352.92 SF                                  2.71         51.03    352.60     1,360.04       (0.00)         1,360.04
     microbial coating)
                                          FT Unit Kitchen Closet
     95. R&R Snaplock Laminate - simulated                            116.23 SF                                  7.64         35.15    323.10     1,246.24       (0.00)         1,246.24
     wood flooring
                 FT Unit BedroomFT 1 Unit Hallway
     96. Seal/prime then paint the walls and                          352.92 SF                                  1.42          6.34    177.62      685.11        (0.00)           685.11
     ceiling (2 coats)
     97. Detach & Reset Interior door         FT Unitunit
                                                       Kitchen          1.00 EA                                 88.01          0.09     30.83      118.93        (0.00)           118.93
     98. R&R Door dummy knob - interior -                               1.00 EA                                 30.74          0.62     10.98       42.34        (0.00)            42.34
     Standard grade
                 FT Unit Bedroom 2

     Totals: UNIT C Living Room                                                                                              149.58   1,570.10    6,056.10           0.00       6,056.10
         FT Unit Bedroom
                       FT2Unit
                          Closet
                               Bedroom 3
                                    UNIT C Bedroom 3
                 UNIT C Living Room
                                                                   FT Unit Living Room

                              7' 9" UNIT C Bedroom
                                           UNIT C Bedroom
                                                   3 Closet 2 Closet
                      FT Unit Bedroom  3                                        UNIT C Kitchen                                                                              Height: 7' 9"
                                                                UNIT C Bedroom 2                  194.79 SF Walls                                118.19 SF Ceiling
                                                       15' 3"
                                15' 5"




                                        UNIT C Hallway
                                 UNIT C Kitchen
                                                                                                  312.98 SF Walls & Ceiling                      118.19 SF Floor
                                                                                                   13.13 SY Flooring                              23.17 LF Floor Perimeter
                                  1' 1" 5' 1' 10"
                                          UNIT C Bedroom 1                                         38.42 LF Ceil. Perimeter
                                  1' 6"
                      UNIT C Kitchen Closet
                                                    UNITFT
                                                         C Hallway
                                                           Unit
                                                            UNITLinens
                                                                  CCloset
                                                                    Bedroom
                                                                       Closet 1 Closet
     Missing Wall                                                                                    15' 3" X 7' 9"                   Opens into UNIT_C_HALL1
                                    UNIT C Bathroom FT Unit Bathroom
     Missing Wall                                                                                    7' 9" X 7' 9"                    Opens into UNIT_C_LIVIN
                                                       Room1
                                                                FT Unit Kitchen Closet
     DESCRIPTION                                                                         QUANTITY UNIT PRICE                  TAX       O&P          RCV     DEPREC.               ACV
                                   FT Unit Bedroom 1 Hallway
                                              FT Unit
     99. 5/8" drywall - hung, taped, heavy                                                    312.98 SF          3.46         26.03    388.13     1,497.07       (0.00)         1,497.07
     texture, ready for paint FT Unit Kitchen
     100. R&R Light fixture                                                                     1.00 EA         81.74          3.12     29.70      114.56        (0.00)           114.56
                  FT Unit Bedroom 2
     101. R&R Batt      insulation - 4" - R11 -                                               312.98 SF          1.26         17.45    144.13      555.93        (0.00)           555.93
     paper / foil faced
     102. R&R
           FT UnitBaseboard
                   Bedroom
                      FT Unit    - 3 1/4"
                           2 Closet
                              Bedroom 3                                                        23.17 LF          4.26          3.33     35.72      137.75        (0.00)           137.75
                                                                FT Unit Living Room
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                                 FT Unit Bedroom 3
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                                                                                             Exhibit 1




                                                                                   CONTINUED - UNIT C Kitchen



      DESCRIPTION                                                      QUANTITY UNIT PRICE                TAX         O&P        RCV     DEPREC.               ACV
      103. Seal stud wall for odor control (anti-             312.98 SF                     2.71          45.25     312.71    1,206.14       (0.00)         1,206.14
      microbial coating)                      UNIT C Bedroom 3
      104. R&R    Snaplock
                UNIT            Laminate - simulated
                     C Living Room                            118.19 SF                     7.64          35.74     328.54    1,267.25       (0.00)         1,267.25
      wood flooring
      105. Seal/prime then paint the walls and                312.98 SF                     1.42            5.62    157.51     607.56        (0.00)           607.56
      ceiling (2 coats)
                                     UNIT C BedroomUNIT
                                                    3 Closet
                                                         C Bedroom 2 Closet
      106. Detach & Reset Interior door unit                     1.00 EA                   88.01            0.09     30.83     118.93        (0.00)           118.93
      107. R&R Door dummy knob - interior -                      1.00 EA                   30.74            0.62     10.98      42.34        (0.00)            42.34
      Standard grade
                                                            UNIT C Bedroom 2
      Totals: UNIT C Kitchen                                                                             137.25    1,438.25   5,547.53           0.00       5,547.53
                        UNIT C Kitchen UNIT C Hallway




                                                            UNIT C Kitchen Closet                                                                       Height: 7' 9"
                  1' 1"         5'       1' 10"             UNIT C Bedroom 1  214.42 SF Walls                                 47.40 SF Ceiling
                                         1' 6"
                                                                              261.81 SF Walls & Ceiling                       47.40 SF Floor
                                                    6' 7"
              6' 7"




                                            6' 3"




                      UNIT C Kitchen Closet                                       5.27 SY Flooring                            27.67 LF Floor Perimeter
                                            UNIT C Hallway
                                                    FT Unit Closet
                                                            Linens
                                                              UNITCloset
                                                                                27.67
                                                                   C Bedroom 1 Closet
                                                                                       LF Ceil. Perimeter
                                7' 7"
                           5'           2' 3"


               UNIT C Bathroom                                  FT Unit Bathroom
      DESCRIPTION                                                      QUANTITY UNIT PRICE                TAX        O&P         RCV     DEPREC.               ACV
      108. 5/8" drywall - hung,          taped, heavy
                                       Room1
                                                                    261.81 SF               3.46          21.77     324.67    1,252.30       (0.00)         1,252.30
      texture, ready for paint
      109. R&R Light fixture                                           1.00 EA
                                                     FT Unit Kitchen Closet                81.74           3.12      29.70     114.56        (0.00)           114.56
      110. R&R Batt insulation - 4" - R11 -                         261.81 SF               1.26          14.60     120.58     465.06        (0.00)           465.06
      paper / foil faced
                      FT Unit Bedroom 1 FT Unit Hallway
      111. R&R Baseboard - 3 1/4"                                    27.67 LF               4.26           3.97      42.64      164.48       (0.00)           164.48
      112. Seal stud wall for odor control (anti-                   261.81 SF               2.71          37.85     261.58    1,008.94       (0.00)         1,008.94
      microbial coating)
      113. R&R Snaplock Laminate - simulated                         47.40 SF
                                                        FT Unit Kitchen                     7.64          14.33     131.77     508.24        (0.00)           508.24
      wood flooring
      114. Seal/prime then paint the walls and                      261.81 SF               1.42            4.70    131.77     508.24        (0.00)           508.24
      ceiling (2 coats)
                      FT Unit Bedroom 2
      115. Detach & Reset Interior door unit                           1.00 EA             88.01            0.09     30.83     118.93        (0.00)           118.93
      116. R&R Door dummy knob - interior -                            1.00 EA             30.74            0.62     10.98      42.34        (0.00)            42.34
      Standard grade
      117. FT
            R&R     Shelving
              Unit Bedroom    FT -Unit
                           2 Closet12"   - in place
                                       Bedroom 3                     27.67 LF              11.47          11.09     114.97     443.44        (0.00)           443.44

      Totals: UNIT C Kitchen Closet                                                                      112.14    1,199.49   4,626.53           0.00       4,626.53
                                                            FT Unit Living Room


                          FT Unit Bedroom 3




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                              UNIT C Kitchen UNIT C Hallway



                                                                                                                               Exhibit 1
      UNIT C Bedroom 3 Closet                                    UNIT C Bedroom 2 Closet
                                                                                       UNIT C Bedroom 1



                     UNIT C Kitchen Closet

                                                           UNIT C Hallway
                                                                   FT UnitCloset
                                                                          Linens
                                                                             UNITCloset  UNIT C Bathroom
                                                                                  C Bedroom 1 Closet                                                                                     Height: 7' 9"
                                     7' 7"               4" 2' 5"
                                5'            2' 3"           2' 5"
                                                                                                                 351.33 SF Walls                               67.28 SF Ceiling
                                                                       5' 5"
                                                                               5' 7"
                                                                                                                 418.62 SF Walls & Ceiling                     67.28 SF Floor
             7' 6"
                      7' 2"




                                 UNIT C Bathroom                                          FT Unit Bathroom

                                                          4' 3"
                                                                                                                   7.48 SY Flooring                            45.33 LF Floor Perimeter
                                      UNIT C Room1
                                             Bedroom 2
                                              1' 9"




                                                                                                                  45.33 LF Ceil. Perimeter
                                                      1' 5"




                                             3' 11"
                                 6' 5"
                                 6' 7"
                                                                                        FT Unit Kitchen Closet


          DESCRIPTION                                                                                QUANTITY UNIT PRICE                    TAX       O&P         RCV     DEPREC.               ACV
way                             FT Unit Bedroom 1                     FT Unit Hallway
          118. 5/8" drywall - hung, taped, heavy                       418.62 SF                                              3.46          34.81    519.13    2,002.37       (0.00)         2,002.37
          texture, ready for paint
          119. R&R Light fixture                                         1.00 EA                                             81.74           3.12     29.70     114.56        (0.00)           114.56
          120. R&R Batt insulation - 4" - R11 FT        - Unit Kitchen418.62 SF                                               1.26          23.34    192.78     743.58        (0.00)           743.58
          paper / foil faced
          121. R&R Baseboard - 3 1/4"                                   45.33 LF                                              4.26           6.51     69.87      269.49       (0.00)           269.49
          122. SealFTstud Unit wall  for2 odor control (anti-
                               Bedroom                                 418.62 SF                                              2.71          60.53    418.25    1,613.24       (0.00)         1,613.24
          microbial coating)
          123. Tile floor covering                                      67.28 SF                                              9.15          30.33    226.08     872.02        (0.00)           872.02
          124. Seal/prime then paint the walls and                     418.62 SF                                              1.42           7.52    210.69     812.65        (0.00)           812.65
          ceiling   (2 coats)FT Unit Bedroom 3
            FT Unit Bedroom 2 Closet
          125. Detach & Reset Interior door unit                         1.00 EA                                             88.01           0.09     30.83     118.93        (0.00)           118.93
          126. R&R Door   UNIT      C Bedroom
                                 dummy     knob -1interior -             1.00 EA                                             30.74           0.62     10.98      42.34        (0.00)            42.34
                                                   FT Unit Living Room
          Standard grade

          Totals: FT Unit Bedroom 3
                  UNIT     C Bathroom                                                                                                      166.87   1,708.31   6,589.18           0.00       6,589.18




                                         3'                                              FT Unit Linens Closet                                                                           Height: 7' 9"
                                                                                                                  68.46 SF Walls                                4.67 SF Ceiling
                                                                       1' 9"




NIT C HallwayFTCloset
                                2' 8"
                Unit Linens Closet
                                UNIT C Bedroom 1 Closet                                                           73.13 SF Walls & Ceiling                      4.67 SF Floor
                              5" 2' 3"
                                                                                                                   0.52 SY Flooring                             8.83 LF Floor Perimeter
                                                                                                                   8.83 LF Ceil. Perimeter
                          7"

          DESCRIPTION                                                                                QUANTITY UNIT PRICE                    TAX       O&P         RCV     DEPREC.               ACV
          127. 5/8" drywall - FT
                               hung,  taped,
                                   Unit      heavy
                                        Bathroom                                                             73.13 SF         3.46           6.08     90.69     349.80        (0.00)           349.80
          texture, ready for paint
          128. R&R Light fixture                                                                              1.00 EA        81.74           3.12     29.70     114.56        (0.00)           114.56
          129. R&R Batt insulation - 4" - R11 -                                                              73.13 SF         1.26           4.08     33.68     129.90        (0.00)           129.90
          paper / foil faced
          130. R&R Baseboard - 3 1/4"                                                                         8.83 LF         4.26           1.27     13.61      52.50        (0.00)            52.50
          131. Seal stud wall for odor control (anti-                                                        73.13 SF         2.71          10.57     73.07     281.82        (0.00)           281.82
          microbial coating)
          132. R&R Snaplock Laminate - simulated                                                              4.67 SF         7.64           1.41     12.98      50.07        (0.00)            50.07
          wood flooring
                             FT Unit
          133. Seal/prime then   paintKitchen Closet
                                       the walls and                                                         73.13 SF         1.42           1.31     36.81     141.96        (0.00)           141.96
          ceiling (2 coats)
          134. Detach & Reset Interior door unit                                                              1.00 EA        88.01           0.09     30.83     118.93        (0.00)           118.93

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 FT Unit Hallway
12           UNIT C Bedroom 3 Closet
                               UNIT C Bedroom 2 Closet




                                                                                                     Exhibit 1


                              UNIT C Bedroom 2



NIT C Hallway




                                                                                       CONTINUED - FT Unit Linens Closet


                              UNIT C Bedroom 1
                 DESCRIPTION                                                     QUANTITY UNIT PRICE             TAX         O&P        RCV     DEPREC.               ACV
                 135. R&R Door dummy knob - interior -                               1.00 EA       30.74           0.62     10.98      42.34        (0.00)            42.34
                 Standard grade
                 136. R&R Shelving - 12" - in place                                  8.83 LF       11.47           3.54     36.68     141.51        (0.00)           141.51
       UNIT C Hallway
                 FT Unit
                      Closet
                         LinensUNIT
                                ClosetC Bedroom 1 Closet

                 Totals: FT Unit Linens Closet                                                                   32.09     369.03    1,423.39           0.00       1,423.39


                                           FT Unit Bathroom



                                                8' 3"
                                                                          FT Unit Kitchen Closet                                                               Height: 7' 9"
    Room1

                                                                                       194.85 SF Walls                               35.70 SF Ceiling
                     4' 10"

                              4' 4"




                                                                  4' 8"




                                      FT Unit Kitchen Closet                           230.55 SF Walls & Ceiling                     35.70 SF Floor
                                      3'         2' 4"   2' 11"                          3.97 SY Flooring                            25.14 LF Floor Perimeter
1
                           3' 4"                                                        25.14 LF Ceil. Perimeter
            FT Unit Hallway




                 DESCRIPTION                                                     QUANTITY UNIT PRICE             TAX        O&P         RCV     DEPREC.               ACV
                 137. 5/8" drywall      - hung, taped, heavy
                             FT Unit Kitchen
                                                                                   230.55 SF        3.46         19.17     285.91    1,102.78       (0.00)         1,102.78
                 texture, ready for paint
                 138. R&R Light fixture                                              1.00 EA       81.74          3.12      29.70     114.56        (0.00)           114.56
                 139. R&R Batt insulation - 4" - R11 -                             230.55 SF        1.26         12.85     106.18     409.53        (0.00)           409.53
2                paper / foil faced
                 140. R&R Baseboard - 3 1/4"                                        25.14 LF        4.26          3.61      38.74     149.44        (0.00)           149.44
                 141. Seal stud wall for odor control (anti-                       230.55 SF        2.71         33.33     230.35     888.47        (0.00)           888.47
                 microbial coating)
                 142. R&R Snaplock Laminate - simulated                             35.70 SF        7.64         10.80      99.25     382.80        (0.00)           382.80
                 wood flooring
Bedroom 3
                 143. Seal/prime then paint the walls and                          230.55 SF        1.42           4.14    116.04     447.56        (0.00)           447.56
                 ceiling (2 coats)
                 144. Detach & Reset Interior door unit                              1.00 EA       88.01           0.09     30.83     118.93        (0.00)           118.93
                       FT Unit Living Room
                 145. R&R Door dummy knob - interior -                               1.00 EA       30.74           0.62     10.98      42.34        (0.00)            42.34
                 Standard grade
                 146. R&R Shelving - 12" - in place                                 25.14 LF       11.47         10.07     104.45     402.88        (0.00)           402.88

                 Totals: FT Unit Kitchen Closet                                                                  97.80    1,052.43   4,059.29           0.00       4,059.29




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                        UNIT C Bedroom 1


NIT C Kitchen Closet                                                                                               Exhibit 1
              UNIT CFTHallway
                       UnitUNIT
                            Linens
                              Closet
                                C Bedroom
                                   Closet 1 Closet


   UNIT C Bathroom              FT Unit Bathroom

               Room1

                         FT Unit Kitchen Closet
                             3' 2' 4" 2' 11"                                        FT Unit Kitchen                                                                           Height: 7' 9"
   FT Unit Bedroom          3' 4"
                 FT1Unit Hallway
                                                                                                 184.55 SF Walls                                   113.46 SF Ceiling
                                                                                                 298.01 SF Walls & Ceiling                         113.46 SF Floor
                                                                      13' 8"
                                                            13' 6"




                                     FT Unit Kitchen
                                                                                                  12.61 SY Flooring                                 22.07 LF Floor Perimeter
   FT Unit Bedroom 2
                                                                                                  35.57 LF Ceil. Perimeter
                                                8' 5"



it Bedroom
              Missing Wall
         FT2Unit
             Closet
                 Bedroom 3
                                                                                                      13' 6" X 7' 9"                    Opens into FT_UNIT_HALL
              Missing Wall                                                                            8' 4 7/8" X 7' 9"                 Opens into FT_UNIT_LIVI
                        FT Unit Living Room

              DESCRIPTION
  FT Unit Bedroom 3                                                                       QUANTITY UNIT PRICE                   TAX       O&P          RCV     DEPREC.               ACV
                                 UNIT C Bedroom 3
      UNIT C Living Room
             147. 5/8" drywall - hung, taped, heavy                                          298.01 SF            3.46          24.78    369.57     1,425.46       (0.00)         1,425.46
             texture, ready for paint
             148. UNIT
                     R&R  C Bedroom
                             UNIT
                             LightC 3Bedroom
                                        Closet 2 Closet
                                       fixture                                                 1.00 EA           81.74           3.12     29.70      114.56        (0.00)           114.56
             149. R&R Batt insulation - 4" - R11 -                                           298.01 SF            1.26          16.62    137.23      529.34        (0.00)           529.34
             paper / foilUNITfacedC Bedroom 2

        UNIT150. UNITR&R
              C Kitchen      Baseboard - 3 1/4"
                       C Hallway                                                              22.07 LF            4.26           3.17     34.03       131.22       (0.00)           131.22
             151. Seal stud wall for odor control (anti-                                     298.01 SF            2.71          43.09    297.74     1,148.44       (0.00)         1,148.44
             microbial coating)
             152. R&RUNIT         C Bedroom
                             Snaplock          1
                                            Laminate      - simulated                        113.46 SF            7.64          34.31    315.41     1,216.56       (0.00)         1,216.56
             wood     flooring
      UNIT C Kitchen Closet
             153.UNITSeal/prime
                        FT
                         C Hallway
                            Unit
                             UNIT   C then
                                 Linens
                                    Closet   paint
                                       Bedroom
                                        Closet        the walls and
                                                 1 Closet                                    298.01 SF            1.42           5.35    149.98      578.50        (0.00)           578.50
             ceiling (2 coats)
             154.
          UNIT       DetachFT&Unit
                C Bathroom          Reset    Interior door unit
                                        Bathroom                                               1.00 EA           88.01           0.09     30.83      118.93        (0.00)           118.93
             155. Room1
                     R&R Door dummy knob - interior -                                          1.00 EA           30.74           0.62     10.98       42.34        (0.00)            42.34
             Standard grade FT Unit Kitchen Closet

          FT Unit Bedroom 1 Hallway
                      FT Unit
              Totals: FT Unit Kitchen                                                                                          131.15   1,375.47    5,305.35           0.00       5,305.35

                                              FT Unit Kitchen


          FT Unit Bedroom 2
                                                    8' 5"
                                                                                    FT Unit Living Room                                                                       Height: 7' 9"
                                       2' 4"
                             1' 9"




  FT Unit Bedroom
              FT Unit
                  2 Closet
                      Bedroom 3
                                                                                                 326.81 SF Walls                                   164.17 SF Ceiling
                                       2' 4"




                                                                 15' 1"
                                                                           15' 5"




                                FT Unit Living Room                                              490.98 SF Walls & Ceiling                         164.17 SF Floor
         FT Unit Bedroom 3                     8'      4' 11"                                     18.24 SY Flooring                                 41.88 LF Floor Perimeter
                                     6' 10"




                                                    8' 7"
                          4"                    2' 8" 2' 8"                                       44.14 LF Ceil. Perimeter
                          7"                  1' 4"
                            4' 3"     8' 11"
                                8' 2"     5' 3"
              Missing Wall                                                                            8' 4 7/8" X 7' 9"                 Opens into FT_UNIT_KIT1
              Missing Wall                                                                            2' 3 1/8" X 7' 9"                 Opens into FT_UNIT_HALL

              DESCRIPTION                                                                 QUANTITY UNIT PRICE                   TAX       O&P          RCV     DEPREC.               ACV
              156. 5/8" drywall - hung, taped, heavy                                         490.98 SF            3.46          40.83    608.87     2,348.49       (0.00)         2,348.49
              texture, ready for paint
              157. R&R Light fixture                                                           1.00 EA           81.74           3.12     29.70      114.56        (0.00)           114.56
              158. R&R Batt insulation - 4" - R11 -                                          490.98 SF            1.26          27.37    226.10      872.10        (0.00)           872.10
              paper / foil faced
              159. R&R Baseboard - 3 1/4"                                                     41.88 LF            4.26           6.02     64.55      248.98        (0.00)           248.98


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IT C Kitchen
                        UNIT C Hallway                                                   Exhibit 1




                                                                    CONTINUED - FT Unit Living Room


                                                          UNIT C Bedroom 1
              DESCRIPTION                                     QUANTITY UNIT PRICE                     TAX        O&P        RCV     DEPREC.               ACV
           160. Seal stud wall for odor control (anti-      490.98 SF           2.71                  70.99    490.54    1,892.09       (0.00)         1,892.09
           microbial coating)
           161. R&R Snaplock Laminate - simulated           164.17 SF           7.64                  49.64    456.37    1,760.27       (0.00)         1,760.27
           wood flooring
C Kitchen Closet
           162. Seal/prime then paint the walls and         490.98 SF           1.42                   8.82    247.10     953.11        (0.00)           953.11
           ceiling (2 coats)
           163. Detach & Reset Interior door unit              1.00 EA         88.01                   0.09     30.83     118.93        (0.00)           118.93
                                UNIT C HallwayFTCloset
                                                  Unit Linens Closet
                                                                 UNIT C Bedroom 1 Closet
           164. R&R Door dummy knob - interior -               1.00 EA         30.74                   0.62     10.98      42.34        (0.00)            42.34
           Standard grade

              Totals: FT Unit Living Room                                                            207.50   2,165.04   8,350.87           0.00       8,350.87



   UNIT C Bathroom                                               FT Unit Bathroom
                                                      Room1                                                                                        Height: 7' 9"
                         4' 3"
                                                                      82.67 SF Walls                                      5.55 SF Ceiling
                1' 9"




                                      1' 5"

                                              1' 9"




                         3' 11"
                         Room1
                                                                      88.22 SF Walls & Ceiling                            5.55 SF Floor
                                                                       0.62 SY Flooring                                  10.67 LF Floor Perimeter
                          4' 1"                                       10.67 LF Ceil. Perimeter

                                                               FT Unit Kitchen Closet

              DESCRIPTION                                     QUANTITY UNIT PRICE                     TAX       O&P         RCV     DEPREC.               ACV
           165. 5/8" drywall - hung, taped, heavy                88.22 SF                3.46          7.34    109.41     421.99        (0.00)           421.99
           texture, ready for paint
   FT Unit Bedroom
           166. R&R 1 Light fixtureFT Unit Hallway                1.00 EA               81.74          3.12     29.70     114.56        (0.00)           114.56
           167. R&R Batt insulation - 4" - R11 -                 88.22 SF                1.26          4.92     40.63     156.71        (0.00)           156.71
           paper / foil faced
           168. R&R Baseboard - 3 1/4"                           10.67 LF                4.26          1.53     16.45      63.43        (0.00)            63.43
           169. Seal stud wall for odor control (anti-           88.22 SF                2.71         12.76     88.14     339.98        (0.00)           339.98
           microbial coating)
           170. R&R Snaplock Laminate - simulated                 5.55 SF                7.64          1.68     15.43      59.52        (0.00)            59.52
           wood flooring
           171. Seal/prime then paint the walls and              88.22 SFKitchen
                                                                 FT Unit                 1.42          1.58     44.40     171.25        (0.00)           171.25
           ceiling (2 coats)
           172. Detach & Reset Interior door unit                 1.00 EA               88.01          0.09     30.83     118.93        (0.00)           118.93
           173. R&R Door dummy knob - interior -                  1.00 EA               30.74          0.62     10.98      42.34        (0.00)            42.34
           Standard grade

              Totals: Room1                                                                           33.64    385.97    1,488.71           0.00       1,488.71
   FT Unit Bedroom 2




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om 2 Closet       FT Unit Bedroom 3
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                                                                                               UNIT C Bedroom 1


                                                                                                                                           Exhibit 1
              UNIT C Kitchen Closet

                                                           UNIT C Hallway
                                                                  FT Unit Linens
                                                                          Closet
                                                                           UNIT Closet
                                                                                 C Bedroom 1 Closet




                                     UNIT C Bathroom                                              FT Unit Bathroom


                                                          Room1
                                      6' 5"               3' 11"                                      FT Unit Bedroom 1                                                                               Height: 7' 9"
           8"
                      2' 4" 6"




                                                                                                FT Unit Kitchen Closet
                                                                                                                             320.33 SF Walls                               106.67 SF Ceiling
                                                                                5' 7"
                                                                       5' 5"

                                     FT Unit Bedroom 1 FT Unit Hallway
                                                                                                                             427.00 SF Walls & Ceiling                     106.67 SF Floor
                      7' 2"




                                                                                                                              11.85 SY Flooring                             41.33 LF Floor Perimeter
           7' 4"




                                                                                2' 5" 2' 4"



                                                                                                                              41.33 LF Ceil. Perimeter
                                                                       2' 3"




                                              10' 8"
                                                                           UNIT C Bedroom
                                                                                   FT Unit3Kitchen
               UNIT C Living Room


      DESCRIPTION                                                                                                 QUANTITY UNIT PRICE                   TAX       O&P          RCV     DEPREC.               ACV
                                     FT Unit Bedroom 2
                                                   UNIT C Bedroom
                                                             UNIT3CCloset
                                                                    Bedroom 2 Closet
      174. 5/8" drywall - hung, taped, heavy                         427.00 SF                                                            3.46          35.51    529.52     2,042.45       (0.00)         2,042.45
      texture, ready for paint
      175. R&R Light fixture                                           1.00 EA                                                           81.74           3.12     29.70      114.56        (0.00)           114.56
                             Unit BedroomUNIT C Bedroom 2
      176.  R&R
        FT Unit     Batt2FTCloset
                Bedroom    insulation    -34" - R11 -                427.00 SF                                                            1.26          23.81    196.65      758.48        (0.00)           758.48
      paper / foil
                UNITfaced   UNIT C Hallway
                     C Kitchen
      177. R&R Baseboard - 3 1/4"FT Unit Living Room                  41.33 LF                                                            4.26           5.94     63.70       245.71       (0.00)           245.71
      178. Seal stud wall for odor control (anti-                    427.00 SF                                                            2.71          61.74    426.62     1,645.53       (0.00)         1,645.53
                 FT Unit Bedroom 3
      microbial coating)
                                         UNIT C Bedroom 1
      179. R&R Snaplock Laminate               - simulated           106.67 SF                                                            7.64          32.26    296.52     1,143.74       (0.00)         1,143.74
      wood flooring
      180. UNIT   C Kitchen Closet
            Seal/prime       then paint the walls and                427.00 SF                                                            1.42           7.67    214.90      828.91        (0.00)           828.91
      ceiling (2 coats) UNIT CFTHallway UnitUNIT
                                            Linens
                                             Closet
                                                 CCloset
                                                    Bedroom 1 Closet

      181. Detach & Reset Interior door unit                           1.00 EA                                                           88.01           0.09     30.83      118.93        (0.00)           118.93
      182. R&R      Door
                  UNIT       dummy knob
                        C Bathroom          FT-Unit
                                                interior   -
                                                    Bathroom           1.00 EA                                                           30.74           0.62     10.98       42.34        (0.00)            42.34
      Standard grade
                                                       Room1

      Totals: FT Unit BedroomFT1 Unit Kitchen Closet                                                                                                   170.76   1,799.42    6,940.65           0.00       6,940.65

                                 FT Unit BedroomFT
                                                 1 Unit Hallway



                                          10' 8"
                                                                                                      FT Unit Bedroom 2
                                                                                              FT Unit Kitchen
                                                                                                                                                                                                      Height: 7' 9"
              5' 6"
                          5' 4"




                                                                        7' 5"




                                                                                                                             320.33 SF Walls                               106.67 SF Ceiling
                                                               7' 3"




                                 FT Unit Bedroom 2
                                                                                                                             427.00 SF Walls & Ceiling                     106.67 SF Floor
                          2' 2' 8"




                                                                                                                              11.85 SY Flooring                             41.33 LF Floor Perimeter
                                                                        2' 4"
              2' 2"




                                     4' 4" 6"          5' 4"
                                                               2"




                        4"
        FT Unit BedroomFT
                        2 Unit5'Bedroom
                           Closet2"     3
                                                                                                                              41.33 LF Ceil. Perimeter

                                                                          FT Unit Living Room

      DESCRIPTION
           FT Unit Bedroom 3                                                                                      QUANTITY UNIT PRICE                   TAX       O&P          RCV     DEPREC.               ACV
      183. 5/8" drywall - hung, taped, heavy                                                                             427.00 SF        3.46          35.51    529.52     2,042.45       (0.00)         2,042.45
      texture, ready for paint
      184. R&R Light fixture                                                                                               1.00 EA       81.74           3.12     29.70      114.56        (0.00)           114.56
      185. R&R Batt insulation - 4" - R11 -                                                                              427.00 SF        1.26          23.81    196.65      758.48        (0.00)           758.48
      paper / foil faced
      186. R&R Baseboard - 3 1/4"                                                                                         41.33 LF        4.26           5.94     63.70       245.71       (0.00)           245.71
      187. Seal stud wall for odor control (anti-                                                                        427.00 SF        2.71          61.74    426.62     1,645.53       (0.00)         1,645.53
      microbial coating)
      188. R&R Snaplock Laminate - simulated                                                                             106.67 SF        7.64          32.26    296.52     1,143.74       (0.00)         1,143.74
      wood flooring
      189. Seal/prime then paint the walls and                                                                           427.00 SF        1.42           7.67    214.90      828.91        (0.00)           828.91
      ceiling (2 coats)
      190. Detach & Reset Interior door unit                                                                               1.00 EA       88.01           0.09     30.83      118.93        (0.00)           118.93
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                                                                          UNIT C Bedroom 2
                                                                      Room1

                                                                                                                    Exhibit 1
                                       UNIT C Hallway
     UNIT C Kitchen
                                                                                                           FT Unit Kitchen Closet




                                               FT Unit Bedroom 1                    FT Unit Hallway


                                                                                               CONTINUED - FT Unit Bedroom 2


                                                                           UNIT C Bedroom 1

              DESCRIPTION                                                         QUANTITY UNIT PRICE                                TAX        O&P        RCV     DEPREC.               ACV
                                                                                                             FT Unit Kitchen
              191. R&R Door dummy knob - interior -                                       1.00 EA                30.74                0.62     10.98      42.34        (0.00)            42.34
              Standard grade
 UNIT C Kitchen Closet

              Totals: FT Unit Bedroom 2                                                                                             170.76   1,799.42   6,940.65           0.00       6,940.65

                                                  UNIT
                                               FT Unit   C Hallway
                                                       Bedroom  2 FT
                                                                   Closet
                                                                     Unit Linens ClosetUNIT C Bedroom 1 Closet




                                                                     FT Unit Bedroom 2 Closet                                                                                     Height: 7' 9"
                                                                                              107.21 SF Walls                                            9.04 SF Ceiling
            UNIT C Bathroom
                      6"               4' 4"         6"                             FT Unit Bathroom
                                                                                              116.25 SF Walls & Ceiling                                  9.04 SF Floor
                      2' 1"




                                                            1' 9"




                                                    4"
                              FT Unit Bedroom 2 Closet        FT Unit Bedroom 3
                                                                                                1.00 SY Flooring                                        13.83 LF Floor Perimeter
                                      5' 2"                                                    13.83 LF Ceil. Perimeter
                                       5'Room1
                                          4"

                                                                                           FT Unit Living Room
              DESCRIPTION                                                         QUANTITY UNIT    PRICE                             TAX       O&P         RCV     DEPREC.               ACV
                                                                                  FT Unit Kitchen Closet
              192. 5/8" drywall - hung, taped, heavy                                   116.25 SF                   3.46               9.67    144.16     556.06        (0.00)           556.06
              texture, ready for paint
                                 FT Unit Bedroom 3
              193. R&R Light fixture                                                     1.00 EA                 81.74                3.12     29.70     114.56        (0.00)           114.56
              194. R&R Batt insulationFT-Unit
            FT Unit Bedroom 1
                                              4" Hallway
                                                  - R11 -                              116.25 SF                  1.26                6.48     53.54     206.50        (0.00)           206.50
              paper / foil faced
              195. R&R Baseboard - 3 1/4"                                               13.83 LF                   4.26               1.99     21.32      82.23        (0.00)            82.23
              196. Seal stud wall for odor control (anti-                              116.25 SF                   2.71              16.81    116.15     448.00        (0.00)           448.00
              microbial coating)
              197. R&R Snaplock Laminate - simulated                                      9.04 SF                  7.64               2.73     25.13      96.92        (0.00)            96.92
              wood flooring
              198. Seal/prime then paint the walls and                                 116.25 SF                   1.42               2.09     58.51     225.68        (0.00)           225.68
                                                                                    FT Unit Kitchen
              ceiling (2 coats)
              199. Detach & Reset Interior door unit                                      1.00 EA                88.01                0.09     30.83     118.93        (0.00)           118.93
              200. R&R Door dummy knob - interior -                                       1.00 EA                30.74                0.62     10.98      42.34        (0.00)            42.34
              Standard grade
              201. R&R Shelving - 12" - in place                                         13.83 LF                11.47                5.54     57.46     221.64        (0.00)           221.64
            FT Unit Bedroom 2
              Totals: FT Unit Bedroom 2 Closet                                                                                       49.14    547.78    2,112.86           0.00       2,112.86




                                    5' 4"                            FT Unit Bedroom 3                                                                                            Height: 7' 9"
                                                   1' 9"

                                                           2' 1"




it Bedroom 2 Closet                 5'Bedroom
                               FT Unit 2" 3                                                   107.21 SF Walls                                            9.04 SF Ceiling
                         6"          4' 2"                                                    116.25 SF Walls & Ceiling                                  9.04 SF Floor
                         8"                                                                     1.00 SY Flooring                                        13.83 LF Floor Perimeter
                                                                                               13.83 LF Ceil. Perimeter
                                                                           FT Unit Living Room


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         FT Unit Bedroom 3
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                                                                                           Exhibit 1




      DESCRIPTION                                                 QUANTITY UNIT PRICE                   TAX       O&P         RCV     DEPREC.               ACV
      202. 5/8" drywall - hung, taped, heavy                         116.25 SF            3.46           9.67    144.16     556.06        (0.00)           556.06
      texture, ready for paint
      203. R&R Light fixture                                           1.00 EA           81.74           3.12     29.70     114.56        (0.00)           114.56
      204. R&R Batt insulation - 4" - R11 -                          116.25 SF            1.26           6.48     53.54     206.50        (0.00)           206.50
      paper / foil faced
      205. R&R Baseboard - 3 1/4"                                     13.83 LF            4.26           1.99     21.32      82.23        (0.00)            82.23
      206. Seal stud wall for odor control (anti-                    116.25 SF            2.71          16.81    116.15     448.00        (0.00)           448.00
      microbial coating)
      207. R&R Snaplock Laminate - simulated                           9.04 SF            7.64           2.73     25.13      96.92        (0.00)            96.92
      wood flooring
      208. Seal/prime then paint the walls and                       116.25 SF            1.42           2.09     58.51     225.68        (0.00)           225.68
      ceiling (2 coats)
      209. Detach & Reset Interior door unit                           1.00 EA           88.01           0.09     30.83     118.93        (0.00)           118.93
      210. R&R Door        dummy knob - interior -
                      UNIT C Bedroom 3
                                                                       1.00 EA           30.74           0.62     10.98      42.34        (0.00)            42.34
         UNIT C Living
      Standard   grade Room

                  UNIT UNIT
                       C Bedroom
                            C Bedroom
                                 3 Closet
                                       2 Closet
      Totals: FT Unit Bedroom 3                                                                         43.60    490.32    1,891.22           0.00       1,891.22
                       UNIT C Bedroom 2
            UNIT UNIT  C Hallway
                 C Kitchen


                        UNIT C Bedroom 1
         UNIT C Kitchen Closet
                UNITFTC
                      UNIT2' 3"
                        Unit
                         Hallway
                              Linens
                              C Bedroom
                                  Closet
                                     Closet1 Closet         FT Unit Hallway                                                                          Height: 6' 9"
                                           4' 4" 4' 4" 2'
                                                   5' 5"
                                    2' 4" 4' 10" 7' 4"




             UNIT C Bathroom
                         FT Unit Bathroom
                    Room1                                                261.64 SF Walls                                   54.81 SF Ceiling
                          7' 3" 2' 3" 5' 5"




                      FT Unit Kitchen Closet
             FT Unit Bedroom 1
                     FT Unit Hallway
                                                                         316.45 SF Walls & Ceiling                         54.81 SF Floor
                                                                           6.09 SY Flooring                                38.76 LF Floor Perimeter
                              13' 6"




                              FT Unit Kitchen
                                                                          38.76 LF Ceil. Perimeter
                          7' 5"




             FT Unit Bedroom 2

       FT Unit Bedroom
                FT Unit Bedroom
                        2 Closet 3
      Missing Wall
               FT Unit Living Room                                            13' 6" X 6' 9"                    Opens into FT_UNIT_KIT1
            FT Unit Bedroom 3
      Missing Wall                                                            2' 3 1/8" X 6' 9"                 Opens into FT_UNIT_LIVI

      DESCRIPTION                                                 QUANTITY UNIT PRICE                   TAX       O&P         RCV     DEPREC.               ACV
      211. 5/8" drywall - hung, taped, heavy                         316.45 SF            3.46          26.32    392.43    1,513.67       (0.00)         1,513.67
      texture, ready for paint
      212. R&R Light fixture                                           1.00 EA           81.74           3.12     29.70     114.56        (0.00)           114.56
      213. R&R Batt insulation - 4" - R11 -                          316.45 SF            1.26          17.64    145.73     562.09        (0.00)           562.09
      paper / foil faced
      214. R&R Baseboard - 3 1/4"                                     38.76 LF            4.26           5.57     59.74      230.43       (0.00)           230.43
      215. Seal stud wall for odor control (anti-                    316.45 SF            2.71          45.75    316.17    1,219.50       (0.00)         1,219.50
      microbial coating)
      216. R&R Snaplock Laminate - simulated                          54.81 SF            7.64          16.57    152.36     587.68        (0.00)           587.68
      wood flooring
      217. Seal/prime then paint the walls and                       316.45 SF            1.42           5.68    159.26     614.30        (0.00)           614.30
      ceiling (2 coats)
      218. Detach & Reset Interior door unit                           1.00 EA           88.01           0.09     30.83     118.93        (0.00)           118.93
      219. R&R Door dummy knob - interior -                            1.00 EA           30.74           0.62     10.98      42.34        (0.00)            42.34
      Standard grade

      Totals: FT Unit Hallway                                                                          121.36   1,297.20   5,003.50           0.00       5,003.50




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                                                                                                                             Exhibit 1

                                  UNIT C Bedroom 1




 t


        UNIT C Hallway
                 FT Unit
                       Closet
                         Linens
                              UNIT
                       5" 2' 3"
                                Closet
                                    C Bedroom 1 Closet
                                       5' 1"
                                                                                                   FT Unit Bathroom                                                                     Height: 7' 9"
                                  2' 3"




                                                                                                               267.19 SF Walls                                53.37 SF Ceiling
                                                    2' 5"




                                                                             UNIT C Bedroom 3
                         UNIT C Living Room                                                                    320.56 SF Walls & Ceiling                      53.37 SF Floor
                                                                                          6' 11"
                                                                                  6' 7"

oom                            FT Unit Bathroom
                                                                                                                 5.93 SY Flooring                             34.48 LF Floor Perimeter
                                  4' 4"
                      4' 6"




                                                            UNIT C Bedroom
                                                                      UNIT 3CCloset
                                                                             Bedroom 2 Closet                   34.48 LF Ceil. Perimeter
     Room1                                          8' 3"



                                      FT Unit Kitchen Closet UNIT C Bedroom 2
                 DESCRIPTION                                                                             QUANTITY UNIT PRICE              TAX       O&P          RCV     DEPREC.               ACV
                                            UNIT C Hallway
                                  UNIT C Kitchen
                 220. 5/8" drywall - hung, taped, heavy                                                    320.56 SF        3.46          26.66    397.53     1,533.33       (0.00)         1,533.33
om 1         FT texture,   ready for paint
                Unit Hallway

                 221. R&R Light fixture                                          1.00 EA                                   81.74           3.12     29.70      114.56        (0.00)           114.56
                 222. R&R Batt insulationUNIT       - 4"C-Bedroom
                                                             R11 -1            320.56 SF                                    1.26          17.87    147.63      569.41        (0.00)           569.41
                 paper / foil faced
                 223. UNIT
                       R&RC Kitchen  Closet
                              Baseboard
                              FT Unit Kitchen
                                              - 3 1/4"                          34.48 LF                                    4.26           4.95     53.14       204.98       (0.00)           204.98
                                       UNIT CFTHallway
                                                 UnitUNIT
                                                       Linens
                                                         Closet
                                                            C Closet
                                                              Bedroom 1 Closet
                 224. Seal stud wall for odor control (anti-                   320.56 SF                                    2.71          46.35    320.27     1,235.34       (0.00)         1,235.34
                 microbial coating)
                           UNIT C Bathroom            FT Unit Bathroom
                 225. Seal/prime      then paint the       walls   and         320.56 SF                                    1.42           5.76    161.33      622.29        (0.00)           622.29
om 2             ceiling (2 coats)
                                       Room1
                 226. Detach & Reset Interior door unit                          1.00 EA                                   88.01           0.09     30.83      118.93        (0.00)           118.93
                                                   FT Unit Kitchen Closet
                 227. R&R Door dummy knob - interior -                           1.00 EA                                   30.74           0.62     10.98       42.34        (0.00)            42.34
                 Standard FT
                           grade
                              Unit BedroomFT1 Unit Hallway
                 228. Tile floor covering                                       53.37 SF                                    9.15          24.06    179.34      691.74        (0.00)           691.74
Unit Bedroom 3

                 Totals: FT Unit BathroomFT Unit Kitchen                                                                                 129.48   1,330.75    5,132.92           0.00       5,132.92

                               FT Unit Living Room
                                 FT Unit Bedroom 2


m3
                                                                                                   FT Unit Bedroom 3                                                                    Height: 7' 9"
                    FT Unit Bedroom
                              5' 2" FT26"
                                       Unit
                                        Closet
                                           4'Bedroom
                                              2" 6" 3
                                                                    2"
                                                                            2' 4"




                                          5' 4"     8"                                                         312.01 SF Walls                               102.47 SF Ceiling
                                                                            FT Unit Living Room
                                                                                                               414.48 SF Walls & Ceiling                     102.47 SF Floor
                                   9' 11"
                         10' 5"




                                   FT Unit Bedroom 3
                                                                         6' 10"




                                                                                                                11.39 SY Flooring                             40.26 LF Floor Perimeter
                                         6'              6'
                                  1' 2' 8"               2' 8" 1'                                               40.26 LF Ceil. Perimeter
                              1' 4"                          1' 2"
                                            6' 4"    6' 2"


                 DESCRIPTION                                                                             QUANTITY UNIT PRICE              TAX       O&P          RCV     DEPREC.               ACV
                 229. 5/8" drywall - hung, taped, heavy                                                    414.48 SF        3.46          34.47    514.00     1,982.57       (0.00)         1,982.57
                 texture, ready for paint
                 230. R&R Light fixture                                                                      1.00 EA       81.74           3.12     29.70      114.56        (0.00)           114.56
                 231. R&R Batt insulation - 4" - R11 -                                                     414.48 SF        1.26          23.11    190.87      736.22        (0.00)           736.22
                 paper / foil faced
                 232. R&R Baseboard - 3 1/4"                                                                40.26 LF        4.26           5.78     62.05       239.34       (0.00)           239.34
                 233. Seal stud wall for odor control (anti-                                               414.48 SF        2.71          59.93    414.12     1,597.29       (0.00)         1,597.29
                 microbial coating)
                 234. R&R Snaplock Laminate - simulated                                                    102.47 SF        7.64          30.99    284.85     1,098.71       (0.00)         1,098.71
                 wood flooring
                 235. Seal/prime then paint the walls and                                                  414.48 SF        1.42           7.44    208.60      804.60        (0.00)           804.60
                 ceiling (2 coats)
                 236. Detach & Reset Interior door unit                                                      1.00 EA       88.01           0.09     30.83      118.93        (0.00)           118.93

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                                                                                                        Exhibit 1




                                                                                          CONTINUED - FT Unit Bedroom 3



      DESCRIPTION                                                                QUANTITY UNIT PRICE                   TAX         O&P          RCV     DEPREC.               ACV
      237. R&R Door dummy knob - interior -                                             1.00 EA        30.74            0.62      10.98         42.34      (0.00)             42.34
      Standard grade

      Totals: FT Unit Bedroom     3 Deck (B1)
                       Rear Concrete                                                                                 165.55     1,746.00     6,734.56           0.00       6,734.56

      Total: Main Level                                                                                             3,720.40   43,967.73   169,589.53           0.00     169,589.53



                                                                                                        Level 2
      Level 2 W Unit Bedroom 1                                     E Unit Bedroom 1



      DESCRIPTION                                                                QUANTITY UNIT PRICE                   TAX         O&P          RCV     DEPREC.               ACV
      238. Rewire - average residence - copper                        1,390.74 SF                       5.68         123.54     2,808.03    10,830.97      (0.00)         10,830.97
      wiring with conduit
       W Unit BdrmW2Unit
                      Closet
                         Bedrm 1 closet           E Unit BdrmE 1Unit
                                                                 Closet
                                                                     Bedrm 2 Closet
      239. R&R Ductwork system - hot or cold                                1.00 EA                 6,202.36         185.83     2,235.87     8,624.06      (0.00)          8,624.06
      air - 1200 to 1599 SF home
      240. Clean the walls and ceiling - Heavy                        6,792.40 SF                       0.63            6.42    1,499.96     5,785.59      (0.00)          5,785.59
      241. WATER EXTRACTION &                                               2.00 EA                 3,954.63            0.00    2,768.24    10,677.50      (0.00)         10,677.50
      REMEDIATION air handlers *
      242. R&RW Unit Siding
                      Bedroom 2- beveled - fiber-cement               1,184.00
                                                         E Unit Bedroom   2       SF                    5.49         128.67     2,320.09     8,948.92      (0.00)          8,948.92
      (clapboard)
      243. Scaffold - per section - frame only                          250.00 DA                      12.53            0.00    1,096.38     4,228.88      (0.00)          4,228.88
      (per day)                 W Unit Hallway
                                          E Unit Hallway

      244. Seal & paint wood siding                                   1,184.00 SF                      2.64           50.35     1,111.63     4,287.74      (0.00)          4,287.74
      245. R&R Aluminum window, single hung                              14.00 EA                    504.98          509.98     2,652.89    10,232.59      (0.00)         10,232.59
      13-19 W sf Unit
                 (2 pane     w/thermal)
                      Bathroom                            E Unit Bathroom

      246. Add. charge for a retrofit window, 3-                         14.00 EA                    380.00           18.32     1,868.41     7,206.73      (0.00)          7,206.73
      11 sf - difficult
      247. R&RW UnitFrench
                       Laundry double doors - Exterior     E Unit- Laundry 2.00 EA                  1,660.75         269.87     1,256.98     4,848.35      (0.00)          4,848.35
      pre-hung unit

      Total: Level 2                                                                                                1,292.98   19,618.48    75,671.33           0.00      75,671.33

                                 W Unit Kitchen                      E Unit Kitchen




                                     11' 5"                           W Unit Living Room                                                                               Height: 9' 2"
                 3' 3"




                                                                                          269.65 SF Walls                                  102.75 SF Ceiling
                 2' 9"




                                                            9'




                           W Unit Living Room                      E Unit Living Room
                                                                                          372.40 SF Walls & Ceiling                        102.75 SF Floor
                                                                                           11.42 SY Flooring                                29.42 LF Floor Perimeter
         3' 2"
                 3'




                         4' 4"       2' 9"        4' 4"                                    29.42 LF Ceil. Perimeter
                                                  4' 6"

                                                     Front Porch
      Missing Wall                                                                          11' 5" X 9' 2"                      Opens into W_UNIT_KITCH

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                                                                                                                                                   Exhibit 1
room 2                                        E Unit Bedroom 2



         W Unit Hallway
                   E Unit Hallway


                DESCRIPTION                                                                                    QUANTITY UNIT PRICE                             TAX       O&P         RCV     DEPREC.               ACV
hroom           248. Seal studE wall   for odor control (anti-
                                Unit Bathroom                                                                      372.40 SF                       2.71        53.84    372.07    1,435.11       (0.00)         1,435.11
                microbial coating)
                249. Detach & Reset Interior   Rear door  unit
                                                    Concrete Deck (B1)                                                 1.00 EA                    88.01         0.09     30.83     118.93        (0.00)           118.93
undry           250. R&R Door     dummy
                               E Unit Laundry knob - interior -                                                        1.00 EA                    30.74         0.62     10.98      42.34        (0.00)            42.34
                Standard grade

                Totals: W Unit Living Room                                                                                                                     54.55    413.88    1,596.38           0.00       1,596.38

nit Kitchen                                E Unit Kitchen




                                               W
                                               11'Unit
                                                  5" Bedroom 1                                      E Unit Living     Room
                                                                                                           E Unit Bedroom 1                                                                                 Height: 9' 2"
                                                                                       3' 3"




                                                                                                                          269.65 SF Walls                                        102.75 SF Ceiling
                                                                                       2' 9"
                            9'




Living Room                              E Unit Living Room
                                                                                                                          372.40 SF Walls & Ceiling                              102.75 SF Floor
                                                                                                                           11.42 SY Flooring                                      29.42 LF Floor Perimeter
                                                                                       3' 2"
                                                                     3'




                                 4' 4"          2' 9"       4' 4"                                                          29.42 LF Ceil. Perimeter
                                 4' 6"
                   W Unit Bdrm 2W
                                Closet
                                  Unit Bedrm 1 closet                                                        E Unit Bdrm 1ECloset
                                                                                                                            Unit Bedrm 2 Closet
               Front Porch
                Missing Wall                                                                                                  11' 5" X 9' 2"                           Opens into E_UNIT_KITCH

                DESCRIPTION                                                                                    QUANTITY UNIT PRICE                             TAX       O&P         RCV     DEPREC.               ACV
                251. Detach & Reset Interior door unit                                                               1.00 EA                      88.01         0.09     30.83      118.93       (0.00)           118.93
                252. Seal stud wall for odor control (anti-                                                        372.40 SF                       2.71        53.84    372.07    1,435.11       (0.00)         1,435.11
                microbialWcoating)
                           Unit Bedroom 2                                                                            E Unit Bedroom 2
                253. R&R Door dummy knob - interior -                                                                  1.00 EA                    30.74         0.62     10.98      42.34        (0.00)            42.34
                Standard grade
                                       W Unit Hallway
                                                   E Unit Hallway
                Totals: E Unit Living Room                                                                                                                     54.55    413.88    1,596.38           0.00       1,596.38



                                         W Unit Bathroom                                                              E Unit Bathroom
                                                                                                    W Unit Laundry                                                                                          Height: 9' 2"
                                                                     10" 2' 4" 1' 1"




                                                                                                                          204.72 SF Walls                                         27.81 SF Ceiling
                                                               11"
                    4' 1"

                                 3' 9"




                                         W Unit Laundry                                                                   232.53
                                                                                                                       E Unit Laundry SF Walls & Ceiling                          27.81 SF Floor
                                               7' 5"                                                                          3.09 SY Flooring                                    22.33 LF Floor Perimeter
                                                               6"




                                               7' 9"                                                                        22.33 LF Ceil. Perimeter


                          W Unit Kitchen
                DESCRIPTION                                                                                    E Unit Kitchen
                                                                                                               QUANTITY       UNIT PRICE                       TAX       O&P         RCV     DEPREC.               ACV
                254. Seal stud wall for odor control (anti-                                                        232.53 SF                       2.71        33.62    232.31     896.09        (0.00)           896.09
                microbial coating)
                255. Detach & Reset Interior door unit                                                                 1.00 EA                    88.01         0.09     30.83     118.93        (0.00)           118.93
                256. R&R Door dummy knob - interior -                                                                  1.00 EA                    30.74         0.62     10.98      42.34        (0.00)            42.34
                Standard grade
                                              W Unit Living Room                                             E Unit Living Room
                Totals: W Unit Laundry                                                                                                                         34.33    274.12    1,057.36           0.00       1,057.36




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                                                                                               Front Porch
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                                                 E Unit Bedroom 2

                                                                   Rear Concrete Deck (B1)                                               Exhibit 1

nit Hallway
          E Unit Hallway




                                         E Unit Bathroom
                                       W Unit Bedroom 1                                            E Unit Laundry
                                                                                                 E Unit Bedroom 1                                                                                    Height: 9' 2"
                                                           7' 5"
                                                                                                                            204.72 SF Walls                                27.81 SF Ceiling
                          1' 1"

                                  6" 2' 4" 11"




                                                                                                                            232.53 SF Walls & Ceiling                      27.81 SF Floor
                                                                              3' 9"
                                                   E Unit Laundry                     4' 1"
                                                                                                                                 3.09 SY Flooring                          22.33 LF Floor Perimeter
                          10"




               W Unit Bdrm
                         W2Unit
                            Closet
                                Bedrm
                                 7' 9" 1 closet                                                 E Unit BdrmE 1Unit
                                                                                                               Closet         22.33 LF Ceil. Perimeter
                                                                                                                   Bedrm 2 Closet




              DESCRIPTION
                  E Unit Kitchen                                                                              QUANTITY UNIT PRICE                    TAX          O&P         RCV     DEPREC.               ACV
              257. Seal stud wall for odor control (anti-                 232.53 SF                                                      2.71        33.62       232.31     896.09        (0.00)           896.09
                   W Unitcoating)
              microbial   Bedroom 2                          E Unit Bedroom 2

              258. Detach & Reset Interior door unit                          1.00 EA                                                   88.01            0.09     30.83     118.93        (0.00)           118.93
              259. R&R Door dummy           knob
                                              E Unit-Hallway
                                    W Unit Hallway    interior -              1.00 EA                                                   30.74            0.62     10.98      42.34        (0.00)            42.34
              Standard grade

              Totals:  ELiving
                   E Unit UnitRoom
                               Laundry                                                                                                               34.33       274.12    1,057.36           0.00       1,057.36
                            W Unit Bathroom                                                            E Unit Bathroom




                             W Unit Laundry                                                            E Unit Laundry
                                                 7' 5"                                             W Unit Kitchen                                                                                    Height: 9' 2"
                  2' 2"




                                                 7' 9"                3' 8"
                          2'




    Front Porch                                                                                                            233.60 SF Walls                                100.51 SF Ceiling
                          2'




                                                                                                                           334.10 SF Walls & Ceiling                      100.51 SF Floor
                                                                                       8' 11"




                                                 W Unit Kitchen                                   E Unit Kitchen
                                                                                                                            11.17 SY Flooring                              25.42 LF Floor Perimeter
                          4' 9"




                                                                                                                            29.08 LF Ceil. Perimeter
                                                         11' 5"


              Missing Wall                                                                                                   11' 5" X 9' 2"                     Opens into W_UNIT_LIVI2
                                   W Unit Living Room                                           E Unit Living Room
              Missing Wall                                                                                                   3' 8" X 9' 2"                      Opens into W_UNIT_HALLW

              DESCRIPTION                                                                                     QUANTITY UNIT PRICE                    TAX          O&P         RCV     DEPREC.               ACV
              260. Seal stud wall for odor control (anti-                                                            334.10 SF           2.71        48.31       333.80    1,287.52       (0.00)         1,287.52
              microbial coating)       Front Porch
              261. Detach & Reset Interior door unit                                                                     1.00 EA        88.01            0.09     30.83     118.93        (0.00)           118.93
              262. R&R Door dummy knob - interior -                                                                      1.00 EA        30.74            0.62     10.98      42.34        (0.00)            42.34
              Standard grade

              Totals: W Unit Kitchen                                                                                                                 49.02       375.61    1,448.79           0.00       1,448.79




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       W Unit Hallway
                  E Unit Hallway

                                                                                                                                                    Exhibit 1


oom                                                     E Unit Bathroom
ear Concrete Deck (B1)



dry                                                      E Unit Laundry
                                                                 7' 5"                                  E Unit Kitchen                                                                                       Height: 9' 2"


                                                                                                2' 2"
                             3' 8"                               7' 9"


                                                                                   2'
                                                                                                                           233.60 SF Walls                                        100.51 SF Ceiling
                                                                                                2'
                                                                                                                           334.10 SF Walls & Ceiling                              100.51 SF Floor
                        8' 11"




t Kitchen                                           E Unit Kitchen
                                                                                                                            11.17 SY Flooring                                      25.42 LF Floor Perimeter
                                                                                                4' 9"


                                 E Unit Bedroom 1                                                                           29.08 LF Ceil. Perimeter
                                                        11' 5"


               Missing Wall                                                                                                    3' 8" X 9' 2"                            Opens into E_UNIT_HALLW
iving Room     Missing Wall              E Unit Living Room                                                                    11' 5" X 9' 2"                           Opens into E_UNIT_LIVI2

               DESCRIPTION                                                                                     QUANTITY UNIT PRICE                              TAX       O&P         RCV     DEPREC.               ACV
                            E Unit Bdrm 1 ECloset
                                            Unit Bedrm 2 Closet
               263. Seal stud wall for odor control (anti-                                                          334.10 SF                       2.71        48.31    333.80    1,287.52       (0.00)         1,287.52
               microbial coating)
              Front Porch
               264. Detach & Reset Interior door unit                                                                  1.00 EA                  88.01            0.09     30.83     118.93        (0.00)           118.93
               265. R&R Door dummy knob - interior -                                                                   1.00 EA                  30.74            0.62     10.98      42.34        (0.00)            42.34
               Standard grade
                                                                                     Rear Concrete Deck (B1)

               Totals: E Unit Kitchen                                                                                                                           49.02    375.61    1,448.79           0.00       1,448.79
                                                    E Unit Bedroom 2




nit Hallway
         E Unit Hallway
                                                                                                        E Unit Bathroom                                                                                      Height: 9' 2"
                                                           7' 7"
                                         2' 4" 2"




                                                          7' 5"                                                            223.06 SF Walls                                         35.23 SF Ceiling
                                                        W Unit Bedroom 1                                       E Unit Bedroom 1
                                                                                                                           258.28 SF Walls & Ceiling                               35.23 SF Floor
                                                                                 4' 9"

                                                                                               5' 1"




                                                     E Unit Bathroom
                                                                                                                             3.91 SY Flooring                                      24.33 LF Floor Perimeter
                                         2' 3"
                             2' 5"




                                                                                                                            24.33 LF Ceil. Perimeter

                                                      E Unit Laundry


               DESCRIPTION                                                                                     QUANTITY UNIT PRICE                              TAX       O&P         RCV     DEPREC.               ACV
                    W Unit Bdrm 2W
                                 Closet
                                   Unit Bedrm 1 closet                                                        E Unit Bdrm 1 ECloset
                                                                                                                              Unit Bedrm 2 Closet
               266. Seal stud wall for odor control (anti-                                                          258.28 SF                       2.71        37.34    258.05     995.33        (0.00)           995.33
               microbial coating)
               267. Detach & Reset Interior door unit                                                                  1.00 EA                  88.01            0.09     30.83     118.93        (0.00)           118.93
                      E Unit Kitchen
               268. R&R Door dummy knob - interior -                                                                   1.00 EA                  30.74            0.62     10.98      42.34        (0.00)            42.34
               Standard grade

               Totals: E Unit Bathroom                                                                                                                          38.05    299.86    1,156.60           0.00       1,156.60
                                         W Unit Bedroom 2                                                             E Unit Bedroom 2




                             E Unit Living Room                                  W Unit Hallway
                                                                                             E Unit Hallway
                                                                                                        W Unit Bathroom                                                                                      Height: 9' 2"
                                                        7' 7"
                                                                                    2' 4" 2"




                                                                                                                          223.06 SF Walls                                          35.23 SF Ceiling
                                                                                                                          258.28 SF Walls & Ceiling                                35.23 SF Floor
                    5' 1"

                                 4' 9"




                                         W Unit Bathroom                                                               E Unit Bathroom
                                                                                                                              3.91 SY Flooring                                     24.33 LF Floor Perimeter
                                                                         2' 3"

                                                                                    2' 5"




                                                       7' 5"
      Front Porch
                                                                                                                            24.33 LF Ceil. Perimeter

                                           W Unit Laundry                                                               E Unit Laundry


               DESCRIPTION                                                                                     QUANTITY UNIT PRICE                              TAX       O&P         RCV     DEPREC.               ACV
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                                                          W Unit Kitchen                                         E Unit Kitchen
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                                                                                                                                       Exhibit 1




                                                                                                                          CONTINUED - W Unit Bathroom



                 DESCRIPTION                                                                                   QUANTITY UNIT PRICE                 TAX       O&P        RCV     DEPREC.               ACV
                 269. Seal stud wall for odor control (anti-                                                      258.28 SF           2.71         37.34    258.05    995.33        (0.00)           995.33
                 microbial coating) Rear Concrete Deck (B1)
                 270. Detach & Reset Interior door unit                                                                1.00 EA       88.01           0.09    30.83    118.93        (0.00)           118.93
                 271. R&R Door dummy knob - interior -                                                                 1.00 EA       30.74           0.62    10.98     42.34        (0.00)            42.34
                 Standard grade

                 Totals: W Unit
                           W Unit Bathroom
                                  Bedroom 1 E Unit Bedroom 1                                                                                       38.05    299.86   1,156.60           0.00       1,156.60




                        W Unit Bdrm
                               W Unit
                                    2 Closet
                                      Bedrm 1 closet                                   E Unit Bdrm
                                                                                               E Unit
                                                                                                   1 Closet
                                                                                                      Bedrm 2 Closet
                             8" 2' 1' 3' 8"                                                      W Unit Bedroom 2                                                                              Height: 9' 2"
                                                        3' 10"
                                                                           2' 4"
                            5' 2"
                                     5'




                                                                                                                         374.31 SF Walls                             97.75 SF Ceiling
                                                                                                                         472.06 SF Walls & Ceiling                   97.75 SF Floor
                                     2' 9"




                               W Unit Bedroom 2                                             E Unit Bedroom 2
                                                                   9' 5"
                                                                           9' 9"




                                                                                                                          10.86 SY Flooring                          40.83 LF Floor Perimeter
                            5' 2"




                                                                                                                          40.83 LF Ceil. Perimeter
                                     5'




                                                                  W Unit Hallway
                                                                         E Unit Hallway
                                                     7' 8"
                                    7' 5"     3"
                               W Unit Bathroom                                               E Unit Bathroom

                 DESCRIPTION                                                                                   QUANTITY UNIT PRICE                 TAX       O&P        RCV     DEPREC.               ACV
                                    W Unit Laundry                                            E Unit Laundry
                 272. Seal stud wall for odor control (anti-                                                      472.06 SF           2.71         68.25    471.64   1,819.17       (0.00)         1,819.17
          Rearmicrobial
              Concrete Deckcoating)
                            (B1)
                 273. Detach & Reset Interior door unit                                                                1.00 EA       88.01           0.09    30.83    118.93        (0.00)           118.93
                             W Unit Kitchen    E Unit Kitchen
                 274. R&R Door dummy knob - interior -                                                                 1.00 EA       30.74           0.62    10.98     42.34        (0.00)            42.34
                 Standard grade

              Totals:
  W Unit Bedroom 1    EW
                       UnitUnit  Bedroom
                            Bedroom 1    2                                                                                                         68.96    513.45   1,980.44           0.00       1,980.44
                                         W Unit Living Room                            E Unit Living Room




Bdrm
W Unit
     2 Closet
       Bedrm 1 closet     E Unit Bdrm
                                  E Unit
                                       1 Closet
                                         Bedrm 2 Closet
                                  3' 8" 10" 2' 10"Front Porch                                    E Unit Bedroom 2                                                                              Height: 9' 2"
                                1' 2"
                                          2' 3" 1'




                                                             1'
                                                                               5' 2"
                                                                       5'




                                                                                                                         374.31 SF Walls                             97.75 SF Ceiling
                                                                                                                         472.06 SF Walls & Ceiling                   97.75 SF Floor
                                                                               2' 9"




 Unit Bedroom 2                      E Unit Bedroom 2
                                9' 10"
                                          9' 6"




                                                                                                                          10.86 SY Flooring                          40.83 LF Floor Perimeter
                                                                               5' 2"




                                                                                                                          40.83 LF Ceil. Perimeter
                                                                       5'




           W Unit Hallway
                  E Unit Hallway
                                                       7' 8"
                                    3"      7' 5"
 Unit Bathroom                        E Unit Bathroom

                 DESCRIPTION                                                                                   QUANTITY UNIT PRICE                 TAX       O&P        RCV     DEPREC.               ACV
W Unit Laundry                           E Unit Laundry
              275. Seal stud wall for odor control (anti-                                                         472.06 SF           2.71         68.25    471.64   1,819.17       (0.00)         1,819.17
              microbial coating)
              276. Detach & Reset Interior door unit                                                                   1.00 EA       88.01           0.09    30.83    118.93        (0.00)           118.93
   W Unit Kitchen      E Unit Kitchen
              277. R&R Door dummy knob - interior -                                                                    1.00 EA       30.74           0.62    10.98     42.34        (0.00)            42.34
              Standard grade

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 W Unit Living Room       E Unit Living Room




                  Front Porch
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                                                                                       Rear Concrete Deck (B1)
                                                                                                                          Exhibit 1




                                                                                                     CONTINUED - E Unit Bedroom 2


                                                                W Unit Bedroom 1                                      E Unit Bedroom 1

             DESCRIPTION                                                               QUANTITY UNIT PRICE                                 TAX            O&P        RCV     DEPREC.               ACV
             Totals: E Unit Bedroom 2                                                                                                      68.96         513.45   1,980.44           0.00       1,980.44




                                               3' 10"                        W Unit Bdrm 2 Closet                                                                                           Height: 9' 2"
                                               3' 8"
                                                                                                    135.97 SF Walls                                               13.75 SF Ceiling
                          4' 1"

                                       3' 9"




Concrete Deck (B1)                W Unit Bdrm 2 ClosetW Unit Bedrm 1 closet                         149.72 SF Walls    & 1Ceiling
                                                                                                              E Unit Bdrm  ClosetE Unit Bedrm 2 Closet            13.75 SF Floor
                                   8"           2'       1'
                                                                                                      1.53 SY Flooring                                            14.83 LF Floor Perimeter
                                                                                                     14.83 LF Ceil. Perimeter
                                                        1' 2"



             DESCRIPTION                                                               QUANTITY UNIT PRICE                                 TAX            O&P        RCV     DEPREC.               ACV
             278. Seal stud wall for odor control (anti-                                    149.72 SF                    2.71              21.65         149.59    576.98        (0.00)           576.98
             microbial coating)
             279. Detach & Reset      Interior door unit
                                  W Unit Bedroom 2
                                                                                               1.00 EA                  88.01 E Unit Bedroom0.09
                                                                                                                                              2
                                                                                                                                                          30.83    118.93        (0.00)           118.93
             280. R&R Door dummy knob - interior -                                             1.00 EA                  30.74               0.62          10.98     42.34        (0.00)            42.34
             Standard grade
                       E Unit Bedroom 1


             Totals: W Unit Bdrm 2 Closet                                                                                                  22.36         191.40    738.25            0.00         738.25
                                                                                   W Unit Hallway    E Unit Hallway




                                                                             E Unit Bdrm 1 Closet                                                                                           Height: 9' 2"
                               10"             2'     1' 2"

                                  8"                   1' Bathroom
                                                                                                    135.97 SF Walls                                               13.75 SF Ceiling
                                                     W Unit                                                            E Unit Bathroom
                                                                                                    149.72 SF Walls & Ceiling                                     13.75 SF Floor
                      3' 11"




                                                                 3' 9"




                               E Unit Bdrm 1 ClosetE Unit Bedrm 2 Closet
                                                                                                      1.53 SY Flooring                                            14.83 LF Floor Perimeter
                                           3' 8"                                                     14.83 LF Ceil. Perimeter
                                          3' 10"
                                                     W Unit Laundry                                                              E Unit Laundry

             DESCRIPTION                                                               QUANTITY UNIT PRICE                                 TAX            O&P        RCV     DEPREC.               ACV
             281. Seal stud wall for odor control (anti-                                    149.72 SF                    2.71              21.65         149.59    576.98        (0.00)           576.98
             microbial coating)
             282. Detach & Reset Interior door unit                                            1.00 EA                  88.01               0.09          30.83    118.93        (0.00)           118.93
             283. R&R Door dummy         knob
                              E Unit Bedroom 2 - interior -                                    1.00 EA                  30.74               0.62          10.98     42.34        (0.00)            42.34
             Standard grade
                                                                 W Unit Kitchen                                         E Unit Kitchen
             Totals: E Unit Bdrm 1 Closet                                                                                                  22.36         191.40    738.25            0.00         738.25

allway   E Unit Hallway




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                                                     E Unit Bathroom

                                                              W Unit Living Room                                      E Unit Living Room
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                                                                                                                                     Exhibit 1
                               W Unit Bedroom 1                                                          E Unit Bedroom 1




                                                                                     W Unit Bedrm 1 closet                                                                                     Height: 9' 2"
                                   1'           2'       1'
                                                                                                            135.97 SF Walls                                          13.75 SF Ceiling
                                   10"                  10"
                                                                                                            149.72 SF Walls & Ceiling                                13.75 SF Floor
                                                                   3' 11"
                                                          3' 9"



      W Unit Bdrm 2 ClosetW Unit Bedrm 1 closet                                                         E Unit Bdrm 1 ClosetE Unit Bedrm 2 Closet
                                                                                                                1.53 SY Flooring                                     14.83 LF Floor Perimeter
                                              3' 8"                                                           14.83 LF Ceil. Perimeter
                                              3' 10"

               DESCRIPTION                                                                      QUANTITY UNIT PRICE                              TAX        O&P         RCV     DEPREC.               ACV
               284. Seal stud wall for odor control (anti-                                          149.72 SF                    2.71            21.65     149.59     576.98        (0.00)           576.98
               microbial coating)
               285. Detach & Reset Interior door unit                                                   1.00 EA              88.01                  0.09    30.83     118.93        (0.00)           118.93
               286.   R&R
                 W Unit
        E Unit Bedroom 1
                             Door
                        Bedroom 2 dummy knob - interior -                                               1.00 EAE Unit Bedroom30.74
                                                                                                                              2                     0.62    10.98      42.34        (0.00)            42.34
               Standard grade

               Totals: W Unit Bedrm 1 closet                                                                                                     22.36     191.40     738.25            0.00         738.25

                                                                  W Unit Hallway       E Unit Hallway




                                              3' 10"                                 E Unit Bedrm 2 Closet                                                                                     Height: 9' 2"
                                              3' 8"
                                                                                                           135.97 SF Walls                                           13.75 SF Ceiling
                                      3' 9"




                                                                   4' 1"




      E Unit Bdrm 1 ClosetE Unit Bedrm 2 Closet
                 W Unit Bathroom                                                                           149.72  SFBathroom
                                                                                                                E Unit Walls & Ceiling                               13.75 SF Floor
                                   10"          2'      10"
                                                                                                             1.53 SY Flooring                                        14.83 LF Floor Perimeter
                                                                                                            14.83 LF Ceil. Perimeter
                                   1'


                  W Unit Laundry                                                                                    E Unit Laundry
               DESCRIPTION                                                                      QUANTITY UNIT PRICE                              TAX        O&P         RCV     DEPREC.               ACV
               287. Seal stud wall for odor control (anti-                                          149.72 SF                    2.71            21.65     149.59     576.98        (0.00)           576.98
               microbial coating)
               288.  Detach & Reset Interior door unit
                 E Unit Bedroom 2
                                                                                                        1.00 EA                 88.01               0.09    30.83     118.93        (0.00)           118.93
               289. R&R Door dummy knob - interior -                                                    1.00 EA                 30.74               0.62    10.98      42.34        (0.00)            42.34
               Standard grade

               Totals: EWUnit  Bedrm 2 Closet
                         Unit Kitchen                                                                      E Unit Kitchen                        22.36     191.40     738.25            0.00         738.25
way



                                                 Rear Concrete Deck (B1)
                                  5' 6"              6' 4"
                              2' 10"             2' 8" 3' 8"                         W Unit Bedroom 1                                                                                          Height: 9' 2"
                           2' 6"                          3' 6"
                           5' 4"




                                                                                                            441.53 SF Walls                                         144.50 SF Ceiling
                                    5'




                              5' 2"                    6' 2"
                   E Unit Bathroom
                                                                                                            586.03 SF Walls & Ceiling                               144.50 SF Floor
                                                                    12' 9"
                                    2' 9"




                                    W Unit Bedroom 1                  E Unit Bedroom 1
                                                                                                             16.06 SY Flooring                                       48.17 LF Floor Perimeter
                           5' 2"
                                    5'




                             W Unit Living Room                                                          E Unit48.17    LF Ceil. Perimeter
                                                                                                                Living Room
                              3' 10" 1' 2' 1' 2' 4"
                            3' 8" 10" 10"
                   W Unit WBdrm
                              Unit2 Bedrm
                                    Closet 1 closet E Unit Bdrm
                                                           E Unit1Bedrm
                                                                  Closet 2 Closet
                   E Unit Laundry

               DESCRIPTION                                                                      QUANTITY UNIT PRICE                              TAX        O&P         RCV     DEPREC.               ACV
               290. Seal stud
                      W Unit    wall2for odor Econtrol
                             Bedroom                     (anti-
                                                Unit Bedroom 2                                      586.03 SF                    2.71            84.73     585.51    2,258.38       (0.00)         2,258.38
               microbial coating)
                                                     W Unit E
                                                            Hallway
                                                              Unit Hallway
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                                                                                Front Porch
                             W Unit Bathroom                                 E Unit Bathroom
          E Unit Kitchen
                              W Unit Laundry                                 E Unit Laundry
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                                                                                                         Exhibit 1




                                                                                        CONTINUED - W Unit Bedroom 1



               DESCRIPTION                                                      QUANTITY UNIT PRICE                  TAX       O&P         RCV     DEPREC.               ACV
               291. Detach & Reset Interior door unit                                1.00 EA            88.01         0.09     30.83     118.93        (0.00)           118.93
               292. R&R Door dummy knob - interior -                                 1.00 EA            30.74         0.62     10.98      42.34        (0.00)            42.34
               Standard grade

               Totals: W Unit Bedroom 1                                                                              85.44    627.32    2,419.65           0.00       2,419.65



               Rear Concrete Deck (B1)
                               6' 6"                5' 6"
                           3' 10" 2' 8"                2' 10"             E Unit Bedroom 1                                                                        Height: 9' 2"
                             3' 8"                     2' 6"
                                                                  5' 4"




                                                                                       444.58 SF Walls                                 146.63 SF Ceiling
                                                             5'




                                6' 4"               5' 2"

                                                                                       591.21 SF Walls & Ceiling                       146.63 SF Floor
                             12' 9"




                                                                  2' 9"




      W Unit Bedroom 1         E Unit Bedroom 1
                                                                                        16.29 SY Flooring                               48.50 LF Floor Perimeter
                                                                  5' 2"
                                                             5'




                            2' 4"          2'       3' 10"
                                                                                        48.50 LF Ceil. Perimeter
                                   8" 1' 3' 8"
Unit W
     Bdrm
       Unit2 Bedrm
             Closet 1 closet E Unit Bdrm
                                    E Unit1Bedrm
                                           Closet 2 Closet


               DESCRIPTION                                                      QUANTITY UNIT PRICE                  TAX       O&P         RCV     DEPREC.               ACV
             293.2
  W Unit Bedroom     Seal stud     wall
                               E Unit     for odor
                                      Bedroom  2   control (anti-                  591.21 SF             2.71        85.48    590.69    2,278.35       (0.00)         2,278.35
              microbial coating)
              294.   Detach
              W Unit E
                     Hallway    & Reset Interior door unit
                       Unit Hallway                                                  1.00 EA            88.01         0.09     30.83     118.93        (0.00)           118.93
              295. R&R Door dummy knob - interior -                                  1.00 EA            30.74         0.62     10.98      42.34        (0.00)            42.34
              Standard grade
   W Unit Bathroom              E Unit Bathroom


               Totals: E Unit
   W Unit Laundry
                              Bedroom 1
                           E Unit Laundry
                                                                                                                     86.19    632.50    2,439.62           0.00       2,439.62
                              Rear Concrete Deck (B1)


        W Unit Kitchen       E Unit Kitchen
                          W Unit Bedroom
                                     E Unit
                                         1 Bedroom 1
                                                                          W Unit Hallway                                                                             Height: 9'
                                         3' 11"
                                          3' 9"




                     W Unit
                        W Unit
                            Bdrm
                               Bedrm
                                 2 Closet
                                   E Unit
                                      1Ecloset
                                         Unit
                                           BdrmBedrm
                                                 1 Closet
                                                     2 Closet
                                                                                       505.50 SF Walls                                  91.65 SF Ceiling
     W Unit Living Room E Unit Living Room
                      W Unit BedroomE2Unit Bedroom 2                                   597.15 SF Walls & Ceiling                        91.65 SF Floor
                                         9' 5"
                                         9' 9"
                                                    26' 2"




                                      W Unit
                                         E Unit
                                             Hallway
                                                Hallway
                                                                                        10.18 SY Flooring                               56.17 LF Floor Perimeter
                                         6" 2' 3"
                                            2' 5"




                         W Unit BathroomE Unit Bathroom
                     FrontWPorch                                                        56.17 LF Ceil. Perimeter
                            Unit Laundry E Unit Laundry
                                    3' 8"
                            W Unit Kitchen
                                        E Unit Kitchen
               Missing Wall                                                                3' 8" X 9'                        Opens into W_UNIT_KITCH
                         W Unit Living
                                    E Unit
                                       RoomLiving Room
               DESCRIPTION                                                      QUANTITY UNIT PRICE                  TAX       O&P         RCV     DEPREC.               ACV
                                         Front Porch
               296. Seal stud wall for odor control (anti-                         597.15 SF             2.71        86.34    596.62    2,301.24       (0.00)         2,301.24
               microbial coating)
               297. Detach & Reset Interior door unit                                1.00 EA            88.01         0.09     30.83     118.93        (0.00)           118.93
               298. R&R Door dummy knob - interior -                                 1.00 EA            30.74         0.62     10.98      42.34        (0.00)            42.34
               Standard grade


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                                                                                         Exhibit 1




                                                                          CONTINUED - W Unit Hallway



      DESCRIPTION                                                QUANTITY UNIT PRICE                    TAX         O&P          RCV     DEPREC.             ACV
      Totals: W Unit Hallway                                                                           87.05      638.43      2,462.51           0.00     2,462.51
              Rear Concrete Deck (B1)



            W Unit Bedroom
                      E Unit1 Bedroom 1
                                                         E Unit Hallway                                                                                 Height: 9'
                            3' 11"
                             3' 9"




       W Unit
          W Unit
              Bdrm
                 Bedrm
                   2 Closet
                     E Unit
                        1Ecloset
                           Unit
                            BdrmBedrm
                                  1 Closet
                                      2 Closet
                                                                       505.50 SF Walls                                        91.65 SF Ceiling
          W Unit BedroomE 2Unit Bedroom 2                              597.15 SF Walls & Ceiling                              91.65 SF Floor
                            2' 4" 2' 4" 9' 6"
                                2' 5" 26' 2"




                 W Unit
                    E Unit
                        Hallway
                           Hallway
                                                                        10.18 SY Flooring                                     56.17 LF Floor Perimeter
          W Unit Bathroom
                        E Unit Bathroom
           W Unit LaundryE Unit Laundry
                                                                        56.17 LF Ceil. Perimeter
                         3' 8"
             W Unit Kitchen
                        E Unit Kitchen
      Missing Wall                                                        3' 8" X 9'                             Opens into E_UNIT_KITCH
           W Unit Living
                      E Unit
                         RoomLiving Room

      DESCRIPTION                                                QUANTITY UNIT PRICE                    TAX         O&P          RCV     DEPREC.             ACV
                     Front Porch
      299. Seal stud wall for odor control (anti-                  597.15 SF             2.71          86.34      596.62      2,301.24       (0.00)       2,301.24
      microbial coating)
      300. Detach & Reset Interior door unit                         1.00 EA            88.01            0.09      30.83       118.93        (0.00)        118.93
      301. R&R Door dummy knob - interior -                          1.00 EA            30.74            0.62      10.98        42.34        (0.00)         42.34
      Standard grade

      Totals: E Unit Hallway                                                                           87.05      638.43      2,462.51           0.00     2,462.51

      Total: Level 2                                                                                 2,217.97   26,674.60   102,887.76           0.00   102,887.76



                                                                                          Roof

                          26' 6"
                                                         Roof1
                                                                      1808.69 Surface Area                                    18.09 Number of Squares
                                                                       185.37 Total Perimeter Length                          64.75 Total Ridge Length
                                                64' 9"




                          Roof1
                       F2 (B) F1 (A)




                        14' 14'
                       13' 3" 13' 3"

      DESCRIPTION                                                QUANTITY UNIT PRICE                    TAX         O&P          RCV     DEPREC.             ACV
      302. Remove Laminated - comp. shingle                         18.09 SQ            68.21            0.00     431.87      1,665.79       (0.00)       1,665.79
      rfg. - w/ felt
      303. Laminated - comp. shingle rfg. - w/                      18.33 SQ           281.01         216.63     1,878.64     7,246.18       (0.00)       7,246.18
      felt
      304. Remove Additional charge for high                        18.09 SQ             6.98            0.00      44.19       170.46        (0.00)        170.46
      roof (2 stories or greater)

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                                                                    Exhibit 1




                                                              CONTINUED - Roof1



      DESCRIPTION                               QUANTITY UNIT PRICE                TAX         O&P          RCV     DEPREC.             ACV
      305. Additional charge for high roof (2      18.09 SQ        20.97            0.00     132.77       512.12       (0.00)         512.12
      stories or greater)
      306. R&R Sheathing - plywood - 1/2"       1,808.69 SF         4.04         305.95     2,664.57    10,277.63      (0.00)       10,277.63
      CDX
      307. Detach & Reset Roof vent - turbine       4.00 EA        86.49            0.27     121.17       467.40       (0.00)         467.40
      type
      308. R&R Drip edge                          185.37 LF         3.23          19.27      216.30       834.31       (0.00)         834.31

      Totals: Roof1                                                              542.12     5,489.51    21,173.89           0.00    21,173.89

      Total: Roof                                                                542.12     5,489.51    21,173.89           0.00    21,173.89

      Line Item Totals: 2022-05-15-09461-1                                      6,480.49   76,131.84   293,651.18           0.00   293,651.18



      Grand Total Areas:
          10,551.10 SF Walls                          2,937.83 SF Ceiling                      13,488.94 SF Walls and Ceiling
           2,937.83 SF Floor                            326.43 SY Flooring                      1,245.67 LF Floor Perimeter
               0.00 SF Long Wall                          0.00 SF Short Wall                    1,328.27 LF Ceil. Perimeter

           2,937.83 Floor Area                        3,216.96 Total Area                      10,671.23 Interior Wall Area
           3,386.47 Exterior Wall Area                  371.83 Exterior Perimeter of
                                                               Walls

           1,808.69 Surface Area                         18.09 Number of Squares                  185.37 Total Perimeter Length
              64.75 Total Ridge Length                    0.00 Total Hip Length




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                                              Exhibit 1




                                         Summary for Dwelling
      Line Item Total                                                         211,038.85
      Material Sales Tax                                                        6,480.49

      Subtotal                                                                217,519.34
      Overhead                                                                 32,628.00
      Profit                                                                   43,503.84

      Replacement Cost Value                                                 $293,651.18
      Net Claim                                                              $293,651.18




                               Gary Sanders
                               President.




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                                                                      Exhibit 1




                                                    Recap of Taxes, Overhead and Profit




               Overhead        Profit (20%)   Material Sales   Manuf. Home Cleaning Mat'l          Fabric   Storage Tax Local Food Tax
                  (15%)                        Tax (9.45%)      Tax (9.45%)  Tax (9.45%)    Cleaning Tax        (9.45%)           (5%)
                                                                                                 (9.45%)

      Line Items
                   32,628.00      43,503.84         6,480.49           0.00          0.00            0.00          0.00           0.00

      Total
                   32,628.00      43,503.84         6,480.49           0.00          0.00            0.00          0.00           0.00




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                                            Exhibit 1




                                        Recap by Room

     Estimate: 2022-05-15-09461-1

     Area: Main Level                                    39,398.41    18.67%
            UNIT C Bedroom 3 Closet                       1,762.99     0.84%
            UNIT C Bedroom 2                              5,811.28     2.75%
            UNIT C Bedroom 1                              5,838.06     2.77%
            UNIT C Hallway Closet                           939.99     0.45%
            UNIT C Bedroom 1 Closet                       1,499.59     0.71%
            UNIT C Hallway                                4,021.05     1.91%
            UNIT C Bedroom 3                              5,104.43     2.42%
            UNIT C Bedroom 2 Closet                       1,515.94     0.72%
            UNIT C Living Room                            4,336.42     2.05%
            UNIT C Kitchen                                3,972.03     1.88%
            UNIT C Kitchen Closet                         3,314.90     1.57%
            UNIT C Bathroom                               4,714.00     2.23%
            FT Unit Linens Closet                         1,022.27     0.48%
            FT Unit Kitchen Closet                        2,909.06     1.38%
            FT Unit Kitchen                               3,798.73     1.80%
            FT Unit Living Room                           5,978.33     2.83%
            Room1                                         1,069.10     0.51%
            FT Unit Bedroom 1                             4,970.47     2.36%
            FT Unit Bedroom 2                             4,970.47     2.36%
            FT Unit Bedroom 2 Closet                      1,515.94     0.72%
            FT Unit Bedroom 3                             1,357.30     0.64%
            FT Unit Hallway                               3,584.94     1.70%
            FT Unit Bathroom                              3,672.69     1.74%
            FT Unit Bedroom 3                             4,823.01     2.29%

            Area Subtotal: Main Level                   121,901.40    57.76%

     Area: Level 2                                       54,759.87    25.95%
            W Unit Living Room                            1,127.95     0.53%
            E Unit Living Room                            1,127.95     0.53%
            W Unit Laundry                                  748.91     0.35%
            E Unit Laundry                                  748.91     0.35%
            W Unit Kitchen                                1,024.16     0.49%
            E Unit Kitchen                                1,024.16     0.49%
            E Unit Bathroom                                 818.69     0.39%
            W Unit Bathroom                                 818.69     0.39%
            W Unit Bedroom 2                              1,398.03     0.66%
            E Unit Bedroom 2                              1,398.03     0.66%
            W Unit Bdrm 2 Closet                            524.49     0.25%
            E Unit Bdrm 1 Closet                            524.49     0.25%
            W Unit Bedrm 1 closet                           524.49     0.25%
            E Unit Bedrm 2 Closet                           524.49     0.25%
            W Unit Bedroom 1                              1,706.89     0.81%
            E Unit Bedroom 1                              1,720.93     0.82%

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                                      Exhibit 1




             W Unit Hallway                         1,737.03     0.82%
             E Unit Hallway                         1,737.03     0.82%

             Area Subtotal: Level 2                73,995.19    35.06%

     Area: Roof
            Roof1                                  15,142.26     7.18%

             Area Subtotal: Roof                   15,142.26     7.18%

     Subtotal of Areas                            211,038.85    100.00%


     Total                                        211,038.85    100.00%




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                                                                     Exhibit 1




                                                             Recap by Category

      O&P Items                                                                                                    Total                %
      CLEANING                                                                                                   8,498.02        2.89%
      GENERAL DEMOLITION                                                                                        10,915.48        3.72%
      DOORS                                                                                                     10,195.34        3.47%
      DRYWALL                                                                                                   23,170.00        7.89%
      ELECTRICAL                                                                                                16,686.93        5.68%
      FLOOR COVERING - CERAMIC TILE                                                                              1,103.95        0.38%
      FLOOR COVERING - WOOD                                                                                      8,701.34        2.96%
      FINISH CARPENTRY / TRIMWORK                                                                                3,817.93        1.30%
      FINISH HARDWARE                                                                                              875.28        0.30%
      FRAMING & ROUGH CARPENTRY                                                                                  1,988.43        0.68%
      HEAT, VENT & AIR CONDITIONING                                                                             11,203.98        3.82%
      INSULATION                                                                                                 6,294.74        2.14%
      LIGHT FIXTURES                                                                                             1,697.52        0.58%
      PLUMBING                                                                                                   4,063.23        1.38%
      PAINTING                                                                                                  51,006.06       17.37%
      ROOFING                                                                                                   12,362.08        4.21%
      SCAFFOLDING                                                                                                3,132.50        1.07%
      SIDING                                                                                                     5,825.28        1.98%
      WINDOWS - ALUMINUM                                                                                        13,682.24        4.66%
      WATER EXTRACTION & REMEDIATION                                                                            15,818.52        5.39%
      O&P Items Subtotal                                                                                       211,038.85       71.87%
      Material Sales Tax                                                                                         6,480.49        2.21%
      Overhead                                                                                                  32,628.00       11.11%
      Profit                                                                                                    43,503.84       14.81%

      Total                                                                                                    293,651.18      100.00%



         This report was written specifically for the subject property based on inspection and data available at the time.

         ACTUAL ONSITE TESTING FOR MOISTURE WAS CONDUCTED USING A FLIR MR277 INFRARED GUIDED
      MEASUREMENT INTERLINK
         ATTACHED TO A FLIR MR12 BALL PROBE MOISTURE SENSOR THAT READS UP TO 4 INCHES PAST THE
      SURFACE.. PHOTOS ARE THEN MADE OF THE MEASURED RESULTS.
         WE UTILIZIED A 5 FOOT LONG MAST EXTENDER THAT ALLOWED FOR THE ACTUAL TESTING OF
      CEILINGS AND HIGH WALLS.

          Actual testing of the moisture readings started at 10:30 AM on May 2, 2022. The elevated readings were photographed
      and inserted in this report.
          Recorded levels were above acceptable limits requiring a scope of mitigation and repairs. The elevated moisture readings
      of the
          floors will require a complete dry out sanding and refinish for their continuous surface. Ceilings and walls will be
      estimated per the actual room readings as listed in the
          floor plan.

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                                                                     Exhibit 1




          Due to the elevated moisture readings, a separate test was initiated at 11:12 AM for particle levels and their effect on the
      living spaces. This test was conducted using
          a Particle Scan Pro Air born Class 1, Laser diode based particle counter , serial number 101-001179,. Testing started
      outside to record the ambient conditions that is
          needed to compare the density of the interior, Particles from .03, 05, 07 (micrometers) were measured and recorded in
      photo logs. The acceptable ratios of interior to exterior is 2 to 1.
          When that ratio is exceeded, potential heath issues ( lungs) are present. The subject risk was tested and ratios for 87,600
      ptls /cu ft at the front porch
          were compared to 876,400 ptls /cu ft in the back bedrooms. This is a 10 to 1 ratio io unhealthy per industry standards
      and needs to be mitigated for health reasons.
          Damages were then calculated to mitigate the source ( moisture laden materials)

         The EPA particle affect guidelines are summarized as follows: Exposure to inhale able particles can affect both your lungs
      and your heart.
      Many studies directly link the size of particles to their potential for causing health problems.
      Small particles (less than 10 micrometers in diameter) can get deep into your lungs, and some may even get into your
      bloodstream.
      People with heart or lung diseases such as coronary artery disease, congestive heart failure, and asthma or chronic obstructive
      pulmonary disease (COPD),
       children and older adults may be at greater risk from PM exposure.

      Scientific studies have linked PM exposure to a variety of health impacts, including:Eye, nose and throat irritation;Aggravation
      of coronary and respiratory disease symptoms; and
      Premature death in people with heart or lung disease.




         Should additional information ( discovery of damages) become available, the author reserves the right to review the new
      data and make appropriate comments and changes.




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       1       Main Level/UNIT C Bedroom 2 - 1- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121107
               General view




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       2       Main Level/UNIT C Bedroom 2 - 2- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121112
               General view




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       3       Main Level/UNIT C Bedroom 2 - 3- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121114
               General view




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                                                              Exhibit 1




       4       Main Level/UNIT C Bedroom 2 - 4- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121119
               General view




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       5       Main Level/UNIT C Bedroom 2 - 5- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_122144
               General view




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       6       Main Level/UNIT C Bedroom 1 - 6- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121207
               Station particles readings




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                                                              Exhibit 1




       7       Main Level/UNIT C Bedroom 1 - 7- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121211
               General view




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       8       Main Level/UNIT C Bedroom 1 - 8- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121214
               General view




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       9       Main Level/UNIT C Bedroom 1 - 9- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121220
               General view




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                                                             Exhibit 1




       10      Main Level/UNIT C Bedroom 1 -   Date Taken: 5/1/2022      Taken By: RGP
               10-TimePhoto_20220501_121221
               General view




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                                                             Exhibit 1




       11      Main Level/UNIT C Bedroom 1 -   Date Taken: 5/1/2022      Taken By: RGP
               11-TimePhoto_20220501_121226
               General view




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       12      Main Level/UNIT C Bedroom 1 -   Date Taken: 5/1/2022      Taken By: RGP
               12-TimePhoto_20220501_121227
               General view




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       13      Main Level/UNIT C Bedroom 1 -   Date Taken: 5/1/2022      Taken By: RGP
               13-TimePhoto_20220501_121231
               General view




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       14      Main Level/UNIT C Bedroom 1 -   Date Taken: 5/1/2022      Taken By: RGP
               14-TimePhoto_20220501_122148
               General view




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       15      Main Level/UNIT C Hallway - 26-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121237
               General view




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                                                               Exhibit 1




       16      Main Level/UNIT C Hallway - 27-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121244
               General view




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       17      Main Level/UNIT C Hallway - 28-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121259
               Station particles readings




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       18      Main Level/UNIT C Hallway - 29-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121302
               General view




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       19      Main Level/UNIT C Hallway - 30-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121309
               General view




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       20      Main Level/UNIT C Hallway - 31-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_122127
               General view




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       21      Main Level/UNIT C Hallway - 32-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_122130
               General view




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       22      Main Level/UNIT C Hallway - 33-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_122132
               General view




     2022-05-15-09461-1                                                                    12/29/2023   Page: 56
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       23      Main Level/UNIT C Hallway - 34-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_122135
               General view




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       24      Main Level/UNIT C Hallway - 35-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_122200
               General view




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       25      Main Level/UNIT C Hallway - 36-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_122203
               General view




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       26      Main Level/UNIT C Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
               37-TimePhoto_20220501_121002
               General view




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       27      Main Level/UNIT C Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
               38-TimePhoto_20220501_121054
               Station particles readings




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       28      Main Level/UNIT C Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
               39-TimePhoto_20220501_121103
               General view




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       29      Main Level/UNIT C Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
               40-TimePhoto_20220501_121105
               General view




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       30      Main Level/UNIT C Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
               41-TimePhoto_20220501_122139
               General view




     2022-05-15-09461-1                                                                  12/29/2023   Page: 64
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       31      Main Level/UNIT C Living Room - Date Taken: 5/1/2022      Taken By: RGP
               42-TimePhoto_20220501_120901
               General view




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       32      Main Level/UNIT C Living Room - Date Taken: 5/1/2022      Taken By: RGP
               43-TimePhoto_20220501_120903
               General view




     2022-05-15-09461-1                                                                  12/29/2023   Page: 66
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       33      Main Level/UNIT C Living Room - Date Taken: 5/1/2022      Taken By: RGP
               44-TimePhoto_20220501_120905
               General view




     2022-05-15-09461-1                                                                  12/29/2023   Page: 67
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       34      Main Level/UNIT C Living Room - Date Taken: 5/1/2022      Taken By: RGP
               45-TimePhoto_20220501_120908
               General view




     2022-05-15-09461-1                                                                  12/29/2023   Page: 68
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       35      Main Level/UNIT C Living Room - Date Taken: 5/1/2022      Taken By: RGP
               46-TimePhoto_20220501_120910
               General view




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       36      Main Level/UNIT C Living Room - Date Taken: 5/1/2022      Taken By: RGP
               47-TimePhoto_20220501_120952
               Station particles readings




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       37      Main Level/UNIT C Living Room - Date Taken: 5/1/2022      Taken By: RGP
               48-TimePhoto_20220501_120953
               Station particles readings




     2022-05-15-09461-1                                                                  12/29/2023   Page: 71
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       38      Main Level/UNIT C Living Room - Date Taken: 5/1/2022      Taken By: RGP
               49-TimePhoto_20220501_120959
               General view




     2022-05-15-09461-1                                                                  12/29/2023   Page: 72
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       39      Main Level/UNIT C Kitchen - 50-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121006
               General view




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       40      Main Level/UNIT C Kitchen - 51-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121007
               General view




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       41      Main Level/UNIT C Kitchen - 52-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121015
               Station particles readings




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                                                               Exhibit 1




       42      Main Level/UNIT C Kitchen - 53-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121022
               General view




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                                                               Exhibit 1




       43      Main Level/UNIT C Kitchen - 54-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121023
               General view




     2022-05-15-09461-1                                                                    12/29/2023   Page: 77
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       44      Main Level/UNIT C Kitchen - 55-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121030
               General view




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       45      Main Level/UNIT C Kitchen - 56-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121032
               General view




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       46      Main Level/UNIT C Kitchen - 57-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_122137
               General view




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       47      Main Level/UNIT C Kitchen       Date Taken: 5/1/2022      Taken By: RGP
               Closet - 58-TimePhoto_20220501_
               121035
               General view




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       48      Main Level/UNIT C Kitchen       Date Taken: 5/1/2022      Taken By: RGP
               Closet - 59-TimePhoto_20220501_
               121037
               General view




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       49      Main Level/UNIT C Bathroom - 60- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121318
               General view




     2022-05-15-09461-1                                                                   12/29/2023   Page: 83
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       50      Main Level/UNIT C Bathroom - 61- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121321
               General view




     2022-05-15-09461-1                                                                   12/29/2023   Page: 84
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       51      Main Level/UNIT C Bathroom - 62- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121327
               General view




     2022-05-15-09461-1                                                                   12/29/2023   Page: 85
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       52      Main Level/UNIT C Bathroom - 63- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121332
               General view




     2022-05-15-09461-1                                                                   12/29/2023   Page: 86
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       53      Main Level/UNIT C Bathroom - 64- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121337
               General view




     2022-05-15-09461-1                                                                   12/29/2023   Page: 87
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       54      Main Level/UNIT C Bathroom - 65- Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_121340
               General view




     2022-05-15-09461-1                                                                   12/29/2023   Page: 88
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       55      Main Level/FT Unit Kitchen - 66-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_115457
               General view




     2022-05-15-09461-1                                                                     12/29/2023   Page: 89
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       56      Main Level/FT Unit Kitchen - 67-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_115459
               General view




     2022-05-15-09461-1                                                                     12/29/2023   Page: 90
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       57      Main Level/FT Unit Kitchen - 68-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_115503
               Station particles readings




     2022-05-15-09461-1                                                                     12/29/2023   Page: 91
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       58      Main Level/FT Unit Kitchen - 69-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_115506
               General view




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                                                                Exhibit 1




       59      Main Level/FT Unit Kitchen - 70-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_115510
               General view




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                                                                Exhibit 1




       60      Main Level/FT Unit Kitchen - 71-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_115512
               General view




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                                                                Exhibit 1




       61      Main Level/FT Unit Kitchen - 72-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_115528
               Moisture level % readings




     2022-05-15-09461-1                                                                     12/29/2023   Page: 95
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                                                                Exhibit 1




       62      Main Level/FT Unit Kitchen - 73-   Date Taken: 5/1/2022      Taken By: RGP
               TimePhoto_20220501_115533
               Moisture level % readings




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                                                              Exhibit 1




       63      Main Level/FT Unit Living Room - Date Taken: 5/1/2022      Taken By: RGP
               74-TimePhoto_20220501_114921
               General view




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                                                              Exhibit 1




       64      Main Level/FT Unit Living Room - Date Taken: 5/1/2022      Taken By: RGP
               75-TimePhoto_20220501_114925
               Station particles readings




     2022-05-15-09461-1                                                                   12/29/2023   Page: 98
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                                                              Exhibit 1




       65      Main Level/FT Unit Living Room - Date Taken: 5/1/2022      Taken By: RGP
               76-TimePhoto_20220501_115237
               General view




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                                                               Exhibit 1




        66      Main Level/FT Unit Living Room - Date Taken: 5/1/2022      Taken By: RGP
                77-TimePhoto_20220501_115238
                General view




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                                                               Exhibit 1




        67      Main Level/FT Unit Living Room - Date Taken: 5/1/2022      Taken By: RGP
                78-TimePhoto_20220501_115240
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 101
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                                                               Exhibit 1




        68      Main Level/FT Unit Living Room - Date Taken: 5/1/2022      Taken By: RGP
                79-TimePhoto_20220501_115248
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 102
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                                                               Exhibit 1




        69      Main Level/FT Unit Living Room - Date Taken: 5/1/2022      Taken By: RGP
                80-TimePhoto_20220501_115253
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 103
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                                                               Exhibit 1




        70      Main Level/FT Unit Living Room - Date Taken: 5/1/2022      Taken By: RGP
                81-TimePhoto_20220501_115258
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 104
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                                                               Exhibit 1




        71      Main Level/FT Unit Living Room - Date Taken: 5/1/2022      Taken By: RGP
                82-TimePhoto_20220501_115305
                Moisture level % floor readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 105
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                                                               Exhibit 1




        72      Main Level/FT Unit Bedroom 1 -   Date Taken: 5/1/2022      Taken By: RGP
                83-TimePhoto_20220501_115633
                General view




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                                                               Exhibit 1




        73      Main Level/FT Unit Bedroom 1 -   Date Taken: 5/1/2022      Taken By: RGP
                84-TimePhoto_20220501_115635
                General view




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                                                               Exhibit 1




        74      Main Level/FT Unit Bedroom 1 -   Date Taken: 5/1/2022      Taken By: RGP
                85-TimePhoto_20220501_115640
                Station particles readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 108
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                                                               Exhibit 1




        75      Main Level/FT Unit Bedroom 1 -   Date Taken: 5/1/2022      Taken By: RGP
                86-TimePhoto_20220501_115643
                General view




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                                                               Exhibit 1




        76      Main Level/FT Unit Bedroom 1 -   Date Taken: 5/1/2022      Taken By: RGP
                87-TimePhoto_20220501_115648
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 110
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                                                               Exhibit 1




        77      Main Level/FT Unit Bedroom 1 -   Date Taken: 5/1/2022      Taken By: RGP
                88-TimePhoto_20220501_115650
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 111
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                                                               Exhibit 1




        78      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                89-TimePhoto_20220501_115314
                General view




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                                                               Exhibit 1




        79      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                90-TimePhoto_20220501_115315
                General view




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                                                               Exhibit 1




        80      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                91-TimePhoto_20220501_115405
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 114
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                                                               Exhibit 1




        81      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                92-TimePhoto_20220501_115407
                General view




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                                                               Exhibit 1




        82      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                93-TimePhoto_20220501_115410
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 116
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                                                               Exhibit 1




        83      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                94-TimePhoto_20220501_115412
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 117
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                                                               Exhibit 1




        84      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                95-TimePhoto_20220501_115417
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 118
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                                                               Exhibit 1




        85      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                96-TimePhoto_20220501_115421
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 119
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                                                               Exhibit 1




        86      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                97-TimePhoto_20220501_115430
                Station particles readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 120
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        87      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                98-TimePhoto_20220501_115439
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 121
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        88      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                99-TimePhoto_20220501_115443
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 122
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                                                               Exhibit 1




        89      Main Level/FT Unit Bedroom 2 -   Date Taken: 5/1/2022      Taken By: RGP
                100-TimePhoto_20220501_
                115449
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 123
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        90      Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                102-TimePhoto_20220501_
                115028
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 124
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        91      Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                103-TimePhoto_20220501_
                115030
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 125
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                                                               Exhibit 1




        92      Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                104-TimePhoto_20220501_
                115033
                Station particles readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 126
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                                                               Exhibit 1




        93      Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                105-TimePhoto_20220501_
                115036
                Station particles readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 127
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                                                               Exhibit 1




        94      Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                106-TimePhoto_20220501_
                115044
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 128
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                                                               Exhibit 1




        95      Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                107-TimePhoto_20220501_
                115048
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 129
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                                                               Exhibit 1




        96      Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                108-TimePhoto_20220501_
                115049
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 130
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                                                               Exhibit 1




        97      Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                109-TimePhoto_20220501_
                115211
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 131
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        98      Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                110-TimePhoto_20220501_
                115226
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 132
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                                                               Exhibit 1




        99      Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                111-TimePhoto_20220501_
                115231
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 133
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        100     Main Level/FT Unit Hallway - 112- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_115600
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 134
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                                                                Exhibit 1




        101     Main Level/FT Unit Hallway - 113- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_115602
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 135
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                                                                Exhibit 1




        102     Main Level/FT Unit Hallway - 114- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_115603
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 136
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        103     Main Level/FT Unit Hallway - 115- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_115615
                Station particles readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 137
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        104     Main Level/FT Unit Hallway - 116- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_115622
                Moisture level % readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 138
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                                                                Exhibit 1




        105     Main Level/FT Unit Hallway - 117- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_115631
                Moisture level % readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 139
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        106     Main Level/FT Unit Hallway - 118- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_115717
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 140
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        107     Main Level/FT Unit Bathroom -   Date Taken: 5/1/2022      Taken By: RGP
                119-TimePhoto_20220501_
                115706
                Station particles readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 141
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                                                              Exhibit 1




        108     Main Level/FT Unit Bathroom -   Date Taken: 5/1/2022      Taken By: RGP
                120-TimePhoto_20220501_
                115719
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 142
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                                                              Exhibit 1




        109     Main Level/FT Unit Bathroom -   Date Taken: 5/1/2022      Taken By: RGP
                121-TimePhoto_20220501_
                115723
                General view




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                                                              Exhibit 1




        110     Main Level/FT Unit Bathroom -   Date Taken: 5/1/2022      Taken By: RGP
                122-TimePhoto_20220501_
                115725
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 144
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                                                              Exhibit 1




        111     Main Level/FT Unit Bathroom -   Date Taken: 5/1/2022      Taken By: RGP
                123-TimePhoto_20220501_
                115728
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 145
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                                                              Exhibit 1




        112     Main Level/FT Unit Bathroom -   Date Taken: 5/1/2022      Taken By: RGP
                124-TimePhoto_20220501_
                115730
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 146
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                                                              Exhibit 1




        113     Main Level/FT Unit Bathroom -   Date Taken: 5/1/2022      Taken By: RGP
                125-TimePhoto_20220501_
                115740
                Moisture level % readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 147
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                                                              Exhibit 1




        114     Main Level/FT Unit Bathroom -   Date Taken: 5/1/2022      Taken By: RGP
                126-TimePhoto_20220501_
                115747
                Moisture level % readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 148
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                                                              Exhibit 1




        115     Main Level/FT Unit Bathroom -   Date Taken: 5/1/2022      Taken By: RGP
                127-TimePhoto_20220501_
                115753
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 149
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                                                              Exhibit 1




        116     Main Level/FT Unit Bathroom -   Date Taken: 5/1/2022      Taken By: RGP
                128-TimePhoto_20220501_
                115755
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 150
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        117     Main Level/FT Unit Bathroom -   Date Taken: 5/1/2022      Taken By: RGP
                129-TimePhoto_20220501_
                115805
                Moisture level % readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 151
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        118     Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                142-TimePhoto_20220501_
                115028
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 152
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        119     Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                143-TimePhoto_20220501_
                115030
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 153
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        120     Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                144-TimePhoto_20220501_
                115033
                Station particles readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 154
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        121     Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                145-TimePhoto_20220501_
                115036
                Station particles readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 155
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        122     Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                146-TimePhoto_20220501_
                115044
                General view




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        123     Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                147-TimePhoto_20220501_
                115048
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 157
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        124     Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                148-TimePhoto_20220501_
                115049
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 158
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        125     Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                149-TimePhoto_20220501_
                115211
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 159
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        126     Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                150-TimePhoto_20220501_
                115226
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 160
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        127     Main Level/FT Unit Bedroom 3 -   Date Taken: 5/1/2022      Taken By: RGP
                151-TimePhoto_20220501_
                115231
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 161
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        128     Level 2/W Unit Living Room - 163- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134039
                Station particles readings ( EXTERIOR)




      2022-05-15-09461-1                                                                    12/29/2023   Page: 162
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        129     Level 2/W Unit Living Room - 164- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134054
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 163
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        130     Level 2/W Unit Living Room - 165- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134056
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 164
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        131     Level 2/W Unit Living Room - 166- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134059
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 165
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        132     Level 2/W Unit Living Room - 167- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134106
                Station particles readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 166
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        133     Level 2/W Unit Living Room - 168- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134117
                General view




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        134     Level 2/W Unit Living Room - 169- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134118
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 168
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        135     Level 2/W Unit Living Room - 170- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134126
                Moisture level % readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 169
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        136     Level 2/W Unit Living Room - 172- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134139
                Moisture level % readings




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        137     Level 2/W Unit Living Room - 173- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134835
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 171
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        138     Level 2/E Unit Living Room - 228- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135004
                General view




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        139     Level 2/E Unit Living Room - 229- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135010
                General view




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        140     Level 2/E Unit Living Room - 230- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135033
                Station particles readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 174
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        141     Level 2/E Unit Living Room - 231- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135042
                Moisture level % readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 175
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        142     Level 2/E Unit Living Room - 233- Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135055
                General view




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        143     Level 2/Front Porch - 272-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134958
                General view




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        144     Level 2/Front Porch - 273-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134959
                General view




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        145     Level 2/Front Porch - 274-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135835
                General view




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        146     Level 2/Front Porch - 275-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135837
                General view




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        147     Level 2/Front Porch - 276-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135833
                General view




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        148     Level 2/Front Porch - 277-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135835
                General view




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                                                           Exhibit 1




        149     Level 2/Front Porch - 278-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135837
                General view




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                                                           Exhibit 1




        150     Level 2/Front Porch - 279-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135842
                Access stairway




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                                                              Exhibit 1




        151     Level 2/W Unit Laundry - 174-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134226
                General view




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                                                              Exhibit 1




        152     Level 2/W Unit Laundry - 175-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134229
                Moisture level % readings




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                                                              Exhibit 1




        153     Level 2/W Unit Laundry - 176-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134235
                General view




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                                                              Exhibit 1




        154     Level 2/W Unit Laundry - 177-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134241
                Station particles readings




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                                                              Exhibit 1




        155     Level 2/E Unit Laundry - 234-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135129
                General view




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                                                              Exhibit 1




        156     Level 2/E Unit Laundry - 235-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135133
                Station particles readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 190
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                                                              Exhibit 1




        157     Level 2/E Unit Laundry - 236-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135138
                General view




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                                                              Exhibit 1




        158     Level 2/W Unit Kitchen - 178-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134142
                General view




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                                                              Exhibit 1




        159     Level 2/W Unit Kitchen - 179-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134144
                General view




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                                                              Exhibit 1




        160     Level 2/W Unit Kitchen - 180-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134147
                General view




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                                                              Exhibit 1




        161     Level 2/W Unit Kitchen - 181-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134154
                Station particles readings




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                                                              Exhibit 1




        162     Level 2/W Unit Kitchen - 182-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134156
                General view




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                                                              Exhibit 1




        163     Level 2/W Unit Kitchen - 183-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134204
                General view




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                                                              Exhibit 1




        164     Level 2/W Unit Kitchen - 184-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134205
                General view




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                                                              Exhibit 1




        165     Level 2/W Unit Kitchen - 185-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134754
                General view




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                                                              Exhibit 1




        166     Level 2/W Unit Kitchen - 186-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134813
                Station particles readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 200
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                                                              Exhibit 1




        167     Level 2/W Unit Kitchen - 187-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134832
                Station particles readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 201
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                                                              Exhibit 1




        168     Level 2/E Unit Kitchen - 237-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135059
                Station particles readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 202
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                                                              Exhibit 1




        169     Level 2/E Unit Kitchen - 238-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135103
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 203
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                                                              Exhibit 1




        170     Level 2/E Unit Kitchen - 239-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135104
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 204
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                                                              Exhibit 1




        171     Level 2/E Unit Kitchen - 240-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135108
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 205
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                                                              Exhibit 1




        172     Level 2/E Unit Kitchen - 241-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135110
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 206
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                                                               Exhibit 1




        173     Level 2/E Unit Bathroom - 242-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135151
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 207
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                                                               Exhibit 1




        174     Level 2/E Unit Bathroom - 243-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135154
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 208
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                                                               Exhibit 1




        175     Level 2/E Unit Bathroom - 244-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135236
                Station particles readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 209
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                                                               Exhibit 1




        176     Level 2/E Unit Bathroom - 245-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135251
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 210
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                                                               Exhibit 1




        177     Level 2/W Unit Bathroom - 188-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134319
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 211
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                                                               Exhibit 1




        178     Level 2/W Unit Bathroom - 189-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134323
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 212
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                                                               Exhibit 1




        179     Level 2/W Unit Bathroom - 190-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134327
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 213
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                                                               Exhibit 1




        180     Level 2/W Unit Bathroom - 191-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134341
                Station particles readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 214
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                                                               Exhibit 1




        181     Level 2/W Unit Bathroom - 192-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134344
                General view




      2022-05-15-09461-1                                                                   12/29/2023   Page: 215
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                                                               Exhibit 1




        182     Level 2/W Unit Bathroom - 193-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134350
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 216
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                                                               Exhibit 1




        183     Level 2/W Unit Bathroom - 194-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134357
                Moisture level % readings




      2022-05-15-09461-1                                                                   12/29/2023   Page: 217
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                                                                Exhibit 1




        184     Level 2/W Unit Bedroom 2 - 195-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134517
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 218
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                                                                Exhibit 1




        185     Level 2/W Unit Bedroom 2 - 196-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134519
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 219
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                                                                Exhibit 1




        186     Level 2/W Unit Bedroom 2 - 197-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134520
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 220
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                                                                Exhibit 1




        187     Level 2/W Unit Bedroom 2 - 198-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134523
                Station particles readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 221
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                                                                Exhibit 1




        188     Level 2/W Unit Bedroom 2 - 199-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134529
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 222
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                                                                Exhibit 1




        189     Level 2/W Unit Bedroom 2 - 200-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134531
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 223
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                                                                Exhibit 1




        190     Level 2/W Unit Bedroom 2 - 201-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134535
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 224
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                                                                Exhibit 1




        191     Level 2/W Unit Bedroom 2 - 202-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134539
                Station particles readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 225
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                                                                Exhibit 1




        192     Level 2/W Unit Bedroom 2 - 203-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134548
                Moisture level % readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 226
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                                                                Exhibit 1




        193     Level 2/W Unit Bedroom 2 - 204-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134553
                Moisture level % readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 227
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                                                                Exhibit 1




        194     Level 2/E Unit Bedroom 2 - 246-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135259
                Station particles readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 228
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                                                                Exhibit 1




        195     Level 2/E Unit Bedroom 2 - 247-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135310
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 229
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                                                                Exhibit 1




        196     Level 2/E Unit Bedroom 2 - 248-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135312
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 230
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                                                                Exhibit 1




        197     Level 2/E Unit Bedroom 2 - 249-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135319
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 231
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                                                                Exhibit 1




        198     Level 2/E Unit Bedroom 2 - 250-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135321
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 232
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                                                                Exhibit 1




        199     Level 2/E Unit Bedroom 2 - 251-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135326
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 233
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                                                                Exhibit 1




        200     Level 2/E Unit Bedroom 2 - 252-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135337
                Moisture level % readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 234
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        201     Level 2/W Unit Bedroom 1 - 205-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134558
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 235
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                                                                Exhibit 1




        202     Level 2/W Unit Bedroom 1 - 206-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134602
                Station particles readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 236
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                                                                Exhibit 1




        203     Level 2/W Unit Bedroom 1 - 207-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134608
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 237
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        204     Level 2/W Unit Bedroom 1 - 208-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134610
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 238
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        205     Level 2/W Unit Bedroom 1 - 209-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134612
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 239
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                                                                Exhibit 1




        206     Level 2/W Unit Bedroom 1 - 210-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134616
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 240
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                                                                Exhibit 1




        207     Level 2/W Unit Bedroom 1 - 211-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134618
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 241
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        208     Level 2/W Unit Bedroom 1 - 212-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134621
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 242
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                                                                Exhibit 1




        209     Level 2/W Unit Bedroom 1 - 213-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134624
                Station particles readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 243
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                                                                Exhibit 1




        210     Level 2/W Unit Bedroom 1 - 214-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134637
                Moisture level % readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 244
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                                                                Exhibit 1




        211     Level 2/W Unit Bedroom 1 - 215-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134642
                Moisture level % readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 245
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                                                                Exhibit 1




        212     Level 2/W Unit Bedroom 1 - 216-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134645
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 246
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                                                                Exhibit 1




        213     Level 2/W Unit Bedroom 1 - 217-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134647
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 247
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                                                                Exhibit 1




        214     Level 2/E Unit Bedroom 1 - 254-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135357
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 248
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                                                                Exhibit 1




        215     Level 2/E Unit Bedroom 1 - 255-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135400
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 249
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        216     Level 2/E Unit Bedroom 1 - 256-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135403
                Station particles readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 250
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        217     Level 2/E Unit Bedroom 1 - 257-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135406
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 251
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        218     Level 2/E Unit Bedroom 1 - 258-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135412
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 252
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                                                                Exhibit 1




        219     Level 2/E Unit Bedroom 1 - 259-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135414
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 253
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        220     Level 2/E Unit Bedroom 1 - 260-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135416
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 254
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        221     Level 2/E Unit Bedroom 1 - 261-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135419
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 255
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        222     Level 2/E Unit Bedroom 1 - 262-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135438
                Moisture level % readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 256
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        223     Level 2/E Unit Bedroom 1 - 263-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135446
                Moisture level % readings




      2022-05-15-09461-1                                                                    12/29/2023   Page: 257
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        224     Level 2/E Unit Bedroom 1 - 264-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135449
                General view




      2022-05-15-09461-1                                                                    12/29/2023   Page: 258
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        225     Level 2/W Unit Hallway - 218-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134213
                Moisture level % readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 259
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        226     Level 2/W Unit Hallway - 219-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134216
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 260
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        227     Level 2/W Unit Hallway - 220-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134219
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 261
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        228     Level 2/W Unit Hallway - 221-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134221
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 262
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        229     Level 2/W Unit Hallway - 222-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134400
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 263
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        230     Level 2/W Unit Hallway - 223-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134403
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 264
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        231     Level 2/W Unit Hallway - 224-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134411
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 265
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                                                              Exhibit 1




        232     Level 2/W Unit Hallway - 225-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134415
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 266
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        233     Level 2/W Unit Hallway - 226-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134501
                Station particles readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 267
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        234     Level 2/W Unit Hallway - 227-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_134507
                Station particles readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 268
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        235     Level 2/E Unit Hallway - 265-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135113
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 269
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        236     Level 2/E Unit Hallway - 266-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135115
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 270
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        237     Level 2/E Unit Hallway - 267-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135118
                Station particles readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 271
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        238     Level 2/E Unit Hallway - 268-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135122
                Station particles readings




      2022-05-15-09461-1                                                                  12/29/2023   Page: 272
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        239     Level 2/E Unit Hallway - 269-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135144
                General view




      2022-05-15-09461-1                                                                  12/29/2023   Page: 273
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                                                              Exhibit 1




        240     Level 2/E Unit Hallway - 270-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135146
                General view




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                                                              Exhibit 1




        241     Level 2/E Unit Hallway - 271-   Date Taken: 5/1/2022      Taken By: RGP
                TimePhoto_20220501_135355
                General view




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                                                                  Exhibit 1




        242     280-TimePhoto_20220501_113122 Date Taken: 5/1/2022            Taken By: RGP
                1725 Nunez Street, New Orleans LA / Front elevation




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                                                             Exhibit 1




        243     281-TimePhoto_20220501_134732 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        244     282-TimePhoto_20220501_115904 Date Taken: 5/1/2022       Taken By: RGP
                Left elevation




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                                                             Exhibit 1




        245     283-TimePhoto_20220501_120119 Date Taken: 5/1/2022       Taken By: RGP
                Front elevation




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                                                             Exhibit 1




        246     284-TimePhoto_20220501_134713 Date Taken: 5/1/2022       Taken By: RGP
                Rear elevation




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                                                             Exhibit 1




        247     285-TimePhoto_20220501_134716 Date Taken: 5/1/2022       Taken By: RGP
                Rear deck area




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                                                             Exhibit 1




        248     286-TimePhoto_20220501_134724 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        249     287-TimePhoto_20220501_134727 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        250     288-TimePhoto_20220501_134732 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        251     289-TimePhoto_20220501_135828 Date Taken: 5/1/2022       Taken By: RGP
                General view / Rear access stairway




      2022-05-15-09461-1                                                                 12/29/2023   Page: 285
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                                                             Exhibit 1




        252     290-TimePhoto_20220501_135831 Date Taken: 5/1/2022       Taken By: RGP
                Main access stairway




      2022-05-15-09461-1                                                                 12/29/2023   Page: 286
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                                                             Exhibit 1




        253     291-TimePhoto_20220501_135833 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        254     292-TimePhoto_20220501_135835 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        255     293-TimePhoto_20220501_135837 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        256     294-TimePhoto_20220501_135839 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        257     295-TimePhoto_20220501_135842 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        258     299-TimePhoto_20220501_134727 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        259     301-TimePhoto_20220501_115900 Date Taken: 5/1/2022       Taken By: RGP
                Left elevation




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                                                                Exhibit 1




        260     302-TimePhoto_20220501_115902 Date Taken: 5/1/2022          Taken By: RGP
                General view / Side entrance W Unit Min Level




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                                                             Exhibit 1




        261     303-TimePhoto_20220501_115904 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        262     304-TimePhoto_20220501_115907 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        263     305-TimePhoto_20220501_115920 Date Taken: 5/1/2022       Taken By: RGP
                Rear entrance / UNIT C




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                                                             Exhibit 1




        264     306-TimePhoto_20220501_115922 Date Taken: 5/1/2022       Taken By: RGP
                Rear elevation




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                                                             Exhibit 1




        265     307-TimePhoto_20220501_115925 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        266     308-TimePhoto_20220501_115927 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        267     309-TimePhoto_20220501_115929 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        268     310-TimePhoto_20220501_115932 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        269     311-TimePhoto_20220501_115950 Date Taken: 5/1/2022       Taken By: RGP
                General view / Rear stairway




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                                                             Exhibit 1




        270     312-TimePhoto_20220501_115952 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        271     313-TimePhoto_20220501_115955 Date Taken: 5/1/2022       Taken By: RGP
                Right elevation




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                                                             Exhibit 1




        272     315-TimePhoto_20220501_120852 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        273     316-TimePhoto_20220501_120857 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        274     317-TimePhoto_20220501_120859 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        275     318-TimePhoto_20220501_122321 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        276     319-TimePhoto_20220501_113110 Date Taken: 5/1/2022       Taken By: RGP
                Station particles readings / Exterior




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                                                             Exhibit 1




        277     320-TimePhoto_20220501_113120 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        278     321-TimePhoto_20220501_113122 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        279     322-TimePhoto_20220501_113123 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        280     323-TimePhoto_20220501_113132 Date Taken: 5/1/2022       Taken By: RGP
                Right elevation




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                                                             Exhibit 1




        281     324-TimePhoto_20220501_115900 Date Taken: 5/1/2022       Taken By: RGP
                General view




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                                                             Exhibit 1




        282     329-TimePhoto_20220501_115922 Date Taken: 5/1/2022       Taken By: RGP
                General view




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  Main Level
                                                                                                                 Exhibit 1




                             UNIT C Living Room-                              UNIT C Bedroom 3-
                             STATION PARTICLES READINGSSTATION                 :       PARTICLES READINGS :
                             867200                  22' 4"
                                                                              952400
            UNIT C Kitchen-  845600           10' 8"        10' 8"
            STATION PARTICLES READINGS :                                         UNIT C-




                                                                                             10' 5"
                                                   2' 11"
                                             UNIT
                                      UNIT C Living Room C   Bedroom 3
            1286800                                                              STATION PARTICLES READINGS :
                                         UNIT
                                            UNIT
                                               C Bedroom
                                                      C 5'Bedroom       2 Closet 186400
                                                            2" 5' 2" 3 Closet




                                                       28' 1"


                                                                       34' 8"



                                                                                             9' 8"
                           UNIT C Hallway-      UNIT C Bedroom 2                                                                  FRONT UNIT Bathroom-




                                                                   15' 3"
                                              UNIT
                                           UNIT       C Hallway
                                                C Kitchen
                           STATION PARTICLES READINGS :                                                                           STATION PARTICLES READINGS :
                                                                                                                                  615600




                                                                                                   1' 9" 9' 9"
                           105200               7' 11"
                                                UNIT     C Bedroom 1




                                                                         6' 7"
                                                7' 7"
                                              UNIT C Kitchen Closet                                                               MOISTURE LEVEL % READINGS :
                                                  UNIT
                                                    FT
                                                     UNIT
                                                        Unit
                                                        C Hallway
                                                     2' 8" CLinens
                                                             Bedroom
                                                                  Closet
                                                                    Closet
                                                                       1 Closet                                                   22.1 %




                                                                                             75' 10"
                FRONT UNIT Bedroom 1-




                                                                            5' 5"
                                                    2' 10"




                                                       7' 2"
                                        UNIT C FT
                                               Bathroom
                                                  Unit8'Bathroom                                                                  12.5 %




                                                                        11' 7"
                STATION PARTICLES READINGS : Room1 3"


                                                                1' 9"
                                                                                                                                  12.4 %




                                                                                             4' 4"
                530000                      FT Unit Kitchen Closet



                                                                        10'
                                                 FT Unit
                                                     FTBedroom     1
                                                         Unit Hallway
                                                               8' 7"




                                                                                    33' 5"
                                                                                                                                          FRONT UNIT Hallway-


                                                                                   13' 6"
                                                          FT Unit Kitchen
                                                                                                                                          STATION PARTICLES READINGS :
                                                                        10'
                                                 FT Unit Bedroom 2                                                                        524000

                                                                                             28' 7"
                 FRONT UNIT Bedroom 2-                                                                                                    MOISTURE LEVEL % READINGS :
                                       FT UnitFT
                 STATION PARTICLES READINGS    Bedroom
                                                 Unit
                                                 :FT    Bedroom
                                                  5' 2" 5' 2" 2 Closet
                                                                     3
                                                        Unit Living Room                                                                  20.6 %
                                                       9' 11"




                 329600                    FT Unit Bedroom 3
                                                                                 6' 10"




                 MOISTURE LEVEL % READINGS : 9' 8" 11' 8"                                                                                 19.8 %
                 31.2 %
                 21.9 %                                                                                                 FRONT UNIT Kitchern-
                 16.7 %                                                                                                 STATION PARTICLES READINGS :
                            FRONT UNIT Bedroom 3-
                            STATION PARTICLES READINGS :                                                                522000
                            444800                                                                                      MOISTURE LEVEL % READINGS :
                            407600                                                                                      23.6 %
                            MOISTURE LEVEL % READINGS :                                                                 15.6 %
                            21.2 %
                            18.9 %
                            17.4 %
                                                                                                          FRONT UNIT Living Room-
                                                                                                          STATION PARTICLES READINGS :
                                                                                                          692400
                                                                                                          MOISTURE LEVEL % READINGS :
                                                                                                          30.1 %
                                                                                                          24.1 %
                                                                                                          20.1 %
                                                                                                          47.6 % - Floor
                                                                                                                                                                       Main Level
      2022-05-15-09461-1                                                                                                                                  12/29/2023       Page: 317
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  Level 2
                                                                                             Exhibit 1




                                                                                          EAST UNIT Bedroom 1-
                                                                                          STATION PARTICLES READINGS :
                                                                                          144400
                                                                                          MOISTURE LEVEL % READINGS :
                                                                                          17.4 %
                                                                                          11.5 %
                                 WEST UNIT Bedroom 1-
        WEST UNIT Hallway-       STATION PARTICLES READINGS :
        STATION PARTICLES READINGS :
                                 112400
        89600                    75600                                                                   EAST UNIT Bedroom 2-
        82800                    MOISTURE LEVEL % READINGS :                                             STATION PARTICLES READINGS :
        61600                    16.1 %                                                                  134000
                                 15.1 %                                                                  MOISTURE LEVEL % READINGS :
                                                                                                         16.2 %
                                                                                                                        EAST UNIT Bathroom-
                                              Rear Concrete23' 10" Deck (B1)                                            STATION PARTICLES READINGS :
       WEST UNIT Bedroom 2-                                                                                             137600



                                                                           12' 9"
                                                       11' 4"
                                               W Unit
                                                   E UnitBedroom
                                                               Bedroom   1 1
       STATION PARTICLES READINGS :          W
                                             WUnit
                                                Unit
                                                 EEUnit
                                                   Bdrm
                                                     Unit
                                                     Bedrm  Bdrm
                                                         3' 8"Bedrm
                                                               2 Closet
                                                                   18"closet
                                                                   3'  1 Closet
                                                                         2 Closet
                                                                                                                        MOISTURE LEVEL % READINGS :
                                                                                                                        17.0 %
                                                               17' 2"
       111200

                                                                                12' 9"
                                                       7' 8"
                                               W Unit
                                                   E Unit
                                                       Bedroom  Bedroom 2 2                              EAST UNIT Laundry-
       84400
                                                                           63' 11"
                                                 WEUnit
                                                      UnitHallway
                                                               Hallway
                                               W UnitE 7'Unit
                                                        Bathroom
                                                          5"      44' 1"
                                                                 Bathroom                                STATION PARTICLES READINGS :
       MOISTURE LEVEL % READINGS :              W UnitE Unit
                                                          Laundry  Laundry
       21.1 %                                   W Unit
                                                     E Unit Kitchen
                                                                  Kitchen
                                                                           5' 9" 17' 9"
                                                                                                         275200
       19.9 %                                 W Unit
                                                  E Unit
                                                      Living Living Room Room                                                  EAST UNIT Kitchen-
                                                     Front  23' Porch
                                                                2"
                                                                                                                               STATION PARTICLES READINGS :
                                  WEST UNIT Laundry-                                                                           356000
            WEST UNIT Bathroom-   STATION PARTICLES READINGS :
                                  72400 :
            STATION PARTICLES READINGS
                                  MOISTURE LEVEL % READINGS :               EAST UNIT Living Room-
            126000                                                          STATION PARTICLES READINGS :
                                  13.5 %:
            MOISTURE LEVEL % READINGS                                       182800
            17.8 %                                   WEST UNIT Living Room- MOISTURE LEVEL % READINGS :
            14.9 %              WEST UNIT Kitchen- STATION PARTICLES READINGS
                                                                            16.2 %:
                                STATION PARTICLES READINGS
                                                     77600    :
                                142800               MOISTURE LEVEL % READINGS :
                                101200               13.9 %
                                78800                13.5 %



                                                                                                                                                     Level 2
      2022-05-15-09461-1                                                                                                                12/29/2023    Page: 318
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  Roof
                                    Exhibit 1




                                     26' 6"




                                                         64' 9"
                           F2 (B)   Roof1       F1 (A)




                            14'                  14'
                           13' 3"               13' 3"




                                                                                Roof
      2022-05-15-09461-1                                          12/29/2023   Page: 319
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                                                 Exhibit 1




                                         Sketch Roof Annotations

       Roof
       Face                Square Feet                Number of Squares         Slope - Rise / 12
       F1                       904.35                             9.04                     4.00
       F2                       904.35                             9.04                     4.00
       Estimated Total:       1,808.69                            18.09




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